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COMMONWEALTH OF MASSACHUSETTS
BUREAU OF SPECIAL EDUCATION APPEALS

In Re: Dracut Public Schools

BSEA # 08-5330

DECISION

This decision is issued pursuant to the Individuals with Disabilities Education Act (20 USC
1400 et seqg.), Section 504 of the Rehabilitation Act of 1973 (29 USC 794), the state special
education law (MGL c. 71B), the state Administrative Procedure Act (MGL c. 30A), and the
regulations promulgated under these statutes.

A hearing was held on December 11, 2008, January 22, 2009, and February 2, 2009 in
Malden, MA before William Crane, Hearing Officer. Those present for all or part of the

proceedings were:

Student
Student's Mother
Student’s Father
Karen Levine
Mary Elsa Abele
Debra Hart

Michele Mayer
Jewell Davis!
Dena Sterling
Ann Nicholson
Sarah Price Rosen
Rachel Cotter
Paul Berard
Steven Caristinos
Julie Mazzola
Martha McLarney
James Generosoa
Brad Brooks
Steven Stone
Janine Solomon
Pamela Coveney
Richard Glassman
Kevin Murphy
Lindsey Cyr
Maureen Pires
Barbara Milne

 

 

 

'Ms. Davis testified by telephone.

 

Private Psychologist

Consultant in Pragmatic Language

Director of Education and Transition Team, Institute for
Community Inclusion

Vice President of Children’s and Transitional Services, HMEA
Professor, Middlesex Community College

Educational Advocate

Special Education Teacher, Dracut Public Schools

Science Teacher, Dracut Public Schools

Former Autism/Inclusion Specialist, Dracut Public Schools
Teacher and Track Coach, Dracut Public Schools

Technology Coordinator, Dracut Public Schools

Guidance Counselor, Dracut Public Schools

School Adjustment Counselor, Dracut Public Schools
Principal, Dracut Public Schools

Program Manager, Merrimack Special Education Collaborative
Executive Director of Special Education, Dracut Public Schools
Attorney for Student

Attorney for Student

Attorney for Student

Attorney for Dracut Public Schools

Court Reporter

Court Reporter

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The official record of the hearing consists of documents submitted by the Parents
(hereinafter, “Parent” refers to Student’s mother,” and “Parents” refers to Student’s mother
and father} and marked as exhibits P-1 through P-45; documents submitted by the Dracut
Public Schools (hereinafter, “Dracut”} and marked as exhibits S-1 through S-30; and
approximately two and one-half days of recorded oral testimony and argument.

I. INTRODUCTION

This dispute considers the appropriateness of the transition services that Student received
during his last two years of high school and whether compensatory transition services are
due.

In Dracut’s view, Student, who is diagnosed with Asperger’s Syndrome, made significant
educational progress over the course of his four years at Dracut High School (hereinafter,
“Tigh School”). Student has satisfied Dracut’s graduation standards. ltis not disputed that
Student did well academically, he successfully participated in two vocational intemships and
a mentor program, he established friendships at school, and he was observed to interact in an
appropriate manner with his peers at lunch and during other unstructured times. The Dracut
teachers and staff viewed Student as ready for his postsecondary goal, which was to attend
college and eventually work in the area of computers.

In Student’s and Parents’ view, Dracut’s special education and related services did not
address Student’s deficits (related to, for example, his pragmatic language skills, social skills,
organizational, vocational skills. and travel skills), with the result that he is ill-equipped to
participate successfully in postsecondary education, employment, and independent
community living. Student and Parents take the position that what Student learned within the
High School environment did not provide Student with skills needed to succeed after High
School and that, as a result, Dracut has an obligation under state and federal special
education laws to continue Student’s eligibility for the purpose of providing prospective
transition planning and services to Student; and, in addition, Dracut owes Student
compensatory transition services.

For reasons explained below, I have concluded that Dracut owes Student two years of
compensatory services.

Il. PROCEDURAL HISTORY

On May 29, 2008, Student (through his attorneys) filed his Hearing Request with the BSEA,
seeking a finding that Dracut had failed to provide appropriate transition services, that Dracut
must continue 10 provide transition services to Student beyond the date of his graduation
(June 2008), and that Dracut must also provide compensatory transition services. Dracut
filed a response, taking the position that Student had received appropriate transition services
and that all special education and related services (including transition services) should end
on his expected graduation from High School in June 2008.

 

* Student has designated educational decision-making authority to his parents.

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Student then filed a motion seeking an emergency stay put order would allow Student to
participate in the graduation ceremonies without accepting or receiving his High School
diploma. In a tuling dated June 6, 2008, the previous BSEA Hearing Officer allowed the
motion, concluding that Student may participate in the graduation exercises, may refuse the
proffered diploma, and will retain his substantive and procedural rights to a free appropriate
public education until resolution of the merits of the dispute. The previous Hearing Officer
further found that Student’s stay-put placement was the last-agreed-upon set of special
education services at Dracut High School, as memorialized in Student’s current IEP.

Hearing dates were scheduled for August 25, 26, and 27, 2008. The parties subsequently
filed a joint motion to postpone the hearing in order to allow for further evaiuation by HMEA
(formerly, known as Horace Mann Educational Associates}. This motion was allowed, and
new hearing dates scheduled for December 9, 11, and 12, 2008. The December 9, 2008
hearing day was cancelled by the BSEA, this matter was re-assigned to the present Hearing
Officer on December 11, 2008 which was the first day of hearing, and the December 12,
2008 hearing day was cancelled because of inclement weather. Additional hearing days were
scheduled, with the final hearing day occurring on February 2, 2009.

As agreed by the parties, written closing arguments were due on March 2, 2009, and the
record closed on that date.

Ill. ISSUES
The issues to be decided in this case are the following:

1. Whether Student continued to be eligible after June 2008 to receive transition
planning and services pursuant to an IEP; and if so, what transition planning and
services should be provided.

2. Whether Dracut has provided appropriate transition planning and services since 2006;
and if not, whether Student is entitled to compensatory services; and if so, what
compensatory services should be provided.

IV. FACTS

Profile. Student is a bright, articulate, thoughtful, delightful, charismatic, and engaging
nineteen-year-old young man who lives with his Parents in Dracut, MA. Student’s principal
diagnosis is Asperger’s Syndrome. Student has also been diagnosed with Attention Deficit
Hyperactivity Disorder and an anxiety disorder. Student has a significant pragmatic
language deficit that negatively impacts his ability to understand non-verbal communication,
to participate in reciprocal communication, and to socialize with others. He also has a
significant organizational weakness that impacts hts ability to perform personal hygiene
functions (such as showering and brushing his teeth) on a regular basis and understand basic
texts (such as the Massachusetts driver’s manual). Testimony of Mother, Levine, Abele,
Mayer; exhibits P-3, P-36, P-43.

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Student does not have any friends with whom he socializes. He generally does not leave his
Parents’ house except to attend classes twice weekly at Middlesex Community College (to
which he commutes independently by public bus) and to go to New Hampshire with his
family where they camp in their trailer. Student enjoys playing video games and computer
games. He also enjoys watching sports, the history channel, and the military channel on TV.
Student completed four years of High School, he declined Dracut’s offered diploma, and he
is no longer receiving any educational services from Dracut. Testimony of Student, Mother;
exhibit P-43 (page 3).

For purposes of transition pianning, Student prepared annual vision statements in 2007 and
2008, which reflected the following interests and goals: attend college, work in the computer
field, and learn independent living skills, including obtaining his driver’s license and
improving his self-advocacy skills, communication skills, and soctal skills. Student testified
that, “as an adult,” he wants to be a computer repairman, and he wanis to be “rich” and
“successful.” He further explained that he would like to live independently with friends (“if
he had any”) in Arizona. ‘Testimony of Student. Exhibits P-18, P-20,

IEPs. Student and Parents filed their Hearing Request with the BSEA on May 29, 2008 and
are therefore allowed, pursuant to the IDEA’s statute of limitations, to “look back” two
years—that is, until May 29, 2006—for purposes of challenging the transition planning and
services that have been provided by Dracut. For these purposes, there are three relevant
[EPs. Each IEP included a transition plan. Exhibits P-16, P-19, P-21, $-12, S-15, $-19, 8-
24, 8-25.

The IEP for the period 5/8/06 to 5/7/07 (which began near the end of Student’s 10" grade
and ended near the end of 11” grade) included the following direct services outside of the
general education classroom: counseling by the school adjustment counselor for 30 minutes,
once per week: and a social group by special education staff for 25 minutes, once per week.
The IFP also included consultation services by the autism/inclusion specialist for 30 minutes,
once per week; and consultation from the “counselor” for 15 minutes, once per week.
Exhibits P-21, S-24, S-25.

The transition plan for this [EP described the following “action plans” under the respective
headings:

Course of Study: plan notes that Student is enrolled in college preparatory courses at
the High School and notes Student's special education and related services.
Employment: plan explains that assistance has been offered to develop a letter to
future employers regarding his disability and needed accommodations.

Community Experiences: plan states that schoo! personnel have discussed other
sports-related activities in which Student could participate.

Daily Living Skills and Needs: plan notes that Student is independent in the school
environment, is currently taking an accounting course, and a chapter 688 referral will
be made next year.

 

 

Exhibits P-2 1, 8-24, 8-25,
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The IEP for the period 2/6/07 to 2/5/08 (which began near the middle of Student’s 11" grade
and ended near the middle of 12" grade) included the following direct services outside of the
general education classroom: counseling by the school adjustment counselor for 30 minutes,
once per week; and social/emotional services by a special education teacher for ten minutes,
ten times as needed [sic]. The IEP also included consultation services by the
autism/inclusion specialist for 30 minutes, once per week. The transition plan for this IEP is
substantially the same as the transition plan included in the previous IEP, which is exhibit P-
21. Exhibits P-19, S-15,

The IEP for the period 2/6/08 to 6/10/08 (which began near the middle of Student’s 12
grade and ended at the completion of 12" grade) included the following direct services
outside of the general education classroom: counseling by the school adjustment counselor
for 30 minutes, once per week; and social/emotional services by a special education teacher
for five minutes, ten times as needed [sic]. The IEP also included consultation services by
the autism/inclusion specialist for 30 minutes, once per week. Exhibits P-16, S-12.

The transition plan for this IEP utilized a different format than the transition plans included
in the previous two IEPs. The action plan for this transition plan stated the following: daily
check-in for organizational skills during the school day, avatlability of special education and
guidance staff, participation on track team, participation in wellness internship during gym
class, participation in banking course (where Student will expand his social skills by
interacting with co-workers and customers) and several higher-level computer courses,
participation in computer internship, completion of courses regarding money management,
referral to Massachusetts Rehabilitation Commission, recommendation that Student pursue
part-time employment or volunteer position to receive exposure to employment experiences
and opportunities, and Team’s discussion of recreational opportunities in the community,
Exhibits P-16, S-19.

Educational History. Student entered the Dracut High School as a freshman in the fall of
2004. During his freshman and sophomore years, Student had difficulties at school, both
within the classroom and socially with his peers. Student was in an unfamiliar environment.
He was reactive and defensive, he seemed tense when he interacted with other students, and
he generally kept to himself. Student’s problems were as noted by Dr. Levine in her
testimony and were similar to those reported in the more recent letters from Middlesex
Community College administrators (exhibits P-44, P-45). During sophomore year, Student
had a few altercations with other students. Testimony of Cotter, McLarney, Mother.

In January 2005 during Student's freshman year, Mother had her son privately evaluated by
Mary Elisa Abele, a speech-language pathologist. for purposes of considering Student’s
deficits in pragmatic language. Ms. Abele’s report (discussed separately below) found
sigiilicant language deficits and recommended services. ‘Phe report was considered by
Dracut, but it did not result in any change of services. Without receiving any asstsiance from
Dracut to address what Mother believed to be important social and language deficits, Mother
placed her son privately into the Spotlight Program, attending three hours every other week
after school for two years during 2005 and 2006. Testimony of Mother, Abete.

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In January 2006 during Student’s sophomore year, he was suspended for six weeks for
bringing a letter opener to school. This incident prompted Mother to seek an evaluation of
her son, which was done by Karen Levine, a psychologist, and which is described separately
below. Asa result of this evaluation, Student was determined eligible to receive special
education and related services. Also, Student’s behavior (of bringing a letter opener to
school) was determined to be a manifestation of his disability. Student had not previously
been eligible to receive special education and related services during High School, although
he was on an accommodation plan pursuant to Section 504 of the Rehabilitation Act.
Testimony of Mother, Levine.

Dracut staff believed that through the IEP Team process, Dracut considered Student’s social
needs, pragmatic language deficits, and behavior both in and outside of school. To address
these concerns, Dracut staff consulted with the Dracut autism specialist (Ms. Cotter) and
through the IEP Team process, offered counseling twice each week and a social group.
These were rejected by Parents. Testimony of McLarney.

Mother testified that she rejected counseling services on the IEP because counseling would
have been during the same time period as math, which her son needed to attend, and because
she wanted someone counseling her son who was trained in working with students with
Asperger’s Syndrome.

Dracut staff testified that at that time (late winter and early spring of 2006), Student’s
classroom aberrant behavior consisted of his making an excessive amount of comments
during class time. During Student’s sophomore year, Ms. Cotter (Dracut’s autism/inclusion
specialist) spoke with Student regarding this classroom behavior. Within two or three weeks,
his off-topic comments during class had decreased. Dracut staff also worked with Student on
slowing down and calming down, and staff re-framed issues for him. Testimony of Cotter,
McLamey, Nicholson; exhibit S-2.

During an IEP Team meeting during sophomore year, Ms. McLarney suggested that Student
obtain an after-school job, but this was not possible because the family went away on
weekends. Testimony of McLarney.

In November 2006 of Student’s Junior year, Mother brought a behavior specialist (Linda
Price} to an IEP Team meeting. Ms. Price recommended that Student be provided a social
skills program. The Dracut members of the IEP Team declined to add this service to
Student’s I@P. Testimony of Mother.

In May 2007 of Student’s junior year, Ms. Abele, at Mother’s request, conducted a follow-up
observation and evaluation of Student’s pragmatic language deficits. Her report (discussed
separately below) found that Student’s deficits remained unaddressed. Ms. Abele’s report
recommended that services be put into place to address these deficits. Her report was
presented to the LEP Team at a meeting which was scheduled for a time/date when Ms. Abele
could not attend. The IEP Team declined to follow any of Ms. Abele’s recommendations.
Dracut’s former autism specialist (Ms. Cotter) testified that Dracut never proposed to provide
Student with the discrete training in language pragmatics recommended by Ms. Abele
because. in Ms. Cotter’s opinion, Student was observed to be successful in school with the

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result that Ms. Abele’s proposed services were not needed. Testimony of Mother, Abele,
Cotter.

Dracut staff testified that by his junior and senior years, Student’s social skills had improved,
and he had the ability to modify his behavior so that it was appropriate at the High School.
In the hallways and at other unstructured times, Student was observed as appropriately
interacting with his peers. For example, Student appeared to be relaxed in his interactions
with other students; other students were observed to interact with him in the same way that
they would interact with any other student; and during lunch time, Student did not eat alone,
and he engaged in appropriate conversations with others. Testimony of Cotter, McLarney,
Nicholson, Mazzola, Generoso.

During this time (January 2008, during Student’s senior year), Student had one behavioral
incident, which involved a physical altercation with another student. Student was
suspended. Testimony of Mother.

Dracut witnesses testified that Student’s teachers believed that he had fewer needs over time
as he matured over the course of his four years at the Dracut High School. By the second
half of his senior year, Student’s teachers generally believed that he was performing well
academically, and he required little re-direction. They believed that, in general, any difficult
issues regarding Student could be addressed through a quick discussion between Student and
one of his teachers. Student’s teachers and staff concluded that his conduct and behavior did
not indicate that he needed assistance with development of social skills, and Dracut staff
found that there was no need for specialized training of his teachers regarding Student’s
disabilities and how to work with him. Testimony of Cotter, McLarney, Nicholson,
Mazzola, Generoso, Stone.

In her testimony, Mother disagreed. She believed that her son required the development of
greater social, vocational and transportation skills, and that her son’s language pragmatics
deficits needed to be addressed. She sought unsuccessfully to have added services in these
areas within her son’s IEP. In March 2007 during his junior year, Student began (through
Mother’s initiative and funding) a private program in the community to address social skills
and language pragmatics. Testimony of Mother.

Student was an enthusiastic participant (as a shot-putter) tn winter track during his juntor and
senior years, and he got along well with everyone on the track team, particularly the other
shot-putters and the track coach (there was an isolated incident of harassment by another
student, but this was resolved by the track coach). Through his participation in track, Student
created his own social group at school, he ate lunch with friends from the track team. and in
general at school he was observed to be doing well socially. Testimony of Cotter,

Mclarnes, Nicholson, Mazzota, Berard, Generoso.

Student's track teammates awarded Student the “Team Spirit” award at the end of his junior
year; he received the Fran Kelley award (given to a student whose participation in track has
helped overcome obstacles) in his senior year; and he received three scholarship awards (of
$1500. $500, and $500) in 2008. When Student received the scholarship awards during the
High School’s Pride Night, the audience expressed tts enthusiastic appreciation although

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Student was observed to encourage this response from the audience. Testimony of Berard,
Generoso, Mother; exhibits $-3 (3 page), S-30 (DVD of Pride Night).

Student’s friendships did not carry over to after school. Only once or twice during his High
Schoal years did Student spend time with school friends outside of school—for example,
when he was invited to a party. As a result, Student did not generally socialize with his peers
outside of the High School. Testimony of Mother, Student.

During his semior year, Student took a college-preparatory level science course at Dracut
High School. The course utilized a pre-college text. Student’s science teacher (Ms. Rosen)
testified that Student was engaged and on task {except occasionally when he would be off-
task and was easily re-directed), he completed his assignments on time, and he was an
“outstanding” student, obtaining a final grade of A+. Ms. Rosen also testified that Student’s
classroom participation was never out of control (in contrast to what was reported by Ms.
Davis in her testimony regarding Student’s participation in a Middiesex Community College
course, as discussed separately below), and Student functioned in her classroom at a very
high level. During High School, Student took other college-preparatory courses, in which he
did well academically. Testimony of Rosen, Cotter.

During his senior year in High School, Student participated in a gym mentoring program four
times per week during one semester. Through this program, Student was responsible for
leading stretching exercises, organizing equipment, explaining the tules, and acting as a
referee. This occurred during unstructured parts of a gym class for freshmen. Student was
successful in this mentoring program. Testimony of Cotter, Student.

During his senior year from late January until late May 2008, Student participated in a
private credit union which served the general public and which was located within the Dracut
High School. Student participated in this internship for 50 minutes, three times per week;
and during those weeks when he was not in the technology internship (described below), he
participated an additional 90 minutes, once per week. He was trained (and was successful) in
making deposits and withdrawals for bank customers. He worked well with others, including
members of the public who utilized the bank. Testimony of Cotter, Stone, Student.

During the second semester of senior year (starting after February vacation and continuing
until late May 2008), Student participated in a technology internship for 90 minutes, once per
week. The internship consisted of Student’s meeting with the Dracut technology coordinator
(or the coordinator’s assistant). and assessing, troubleshooting, and repairing computers by
replacing or installing software and hardware. Student followed directions, was always
polite, and demonstrated excellent behavior while interacting with adults. Testimony of
Caristinos, Stone, Student.

Student attended the Learning Center for ten minutes, twice per week where Student reccived
assistance with organization skills. Student required assistance understanding what he
needed to do for homework and with his goal of attending college. He demonstrated
improvements regarding his organizational skills. Testimony of Nicholson.
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Student consistently indicated to Dracut staff (for example, during IEP Team meetings) that
his primary focus regarding transition planning was to attend college and work with
computers. Testimony of Cotter, Nicholson, Mazzola.

Duting Student’s senior year, Ms. Mazzola (Dracut guidance counselor) discussed with
Student his options for attending college, as well as the process of writing a resume and an
essay for the college application. Ms. Mazzola gave to Mother the application for Student to
attend Middlesex Community College, which was the only college that Student considered.
In Ms. Mazzola’s opinion, Student was prepared to attend college, based upon his SAT
scores, extracurricular activities, and behavior in school. Testimony of Mazzola.

For purposes of assisting Student’s transition from High School, Dracut staff spoke with staff
from the Massachusetts Rehabilitation Commission to learn what services would be available
to Student after graduation. Dracut staff learned that job training and tuition reimbursement
might be available to Student. Dracut staff also spoke with staff from Merrimack
Educational Collaborative regarding Student. Testimony of Nicholson.

Dracut’s school adjustment counselor (Ms. McLarney) testified that by June 2008, Student
was prepared to leave Dracut High School and attend coflege, although she conceded that she
only knew Student with respect to what she has observed within school and knew nothing
about Student’s experiences outside of the school environment. Testimony of McLarney.

Student’s senior year science teacher (Ms. Rosen) testified that, in her opinion, Student was
ready for college, based upon his performance in her class. She noted that because Student
was appropriately engaged in High School, he would likely be appropriately engaged in
college. She further stated that she is an adjunct faculty member at Middlesex Community
College, and in her opinion, Student was prepared to attend this college. Testimony of
Rosen.

Student’s teachers generally believed that by the end of senior year, he was ready to take the
next step, which for Student was to attend college. Testimony of Cotter. McLarney,
Nicholson, Mazzola, Generoso, Stone.

Student's special education teacher (Ms. Nicholson) testitied that, in her opinion. through the
computer internshtp, bank internship, and mentoring program at the gym. Student was given
the opportunity to pursue his vision of what he wanted to do after high school. Testimony of
Nicholson.

The Dracut director of special education (Mr. Stane) testified that, in his opinion, Dracut
provided appropriate transition services during the jast two and one-half years of high school.
These services provided Student with employment expericnees (through internships at the
credit union and technology services) and were sufficient to prepare Student to attend
college, which was his goal. Testimony of Sione.

In June 2008, Student had completed his senior year at Dracut High School, and Dracut
offered Student a high schoo} diploma. Student participated in the Dracut High School
graduation, but he declined to receive a diploma. Testimony of Mother.

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Since June 2008, Student has not received further educational services from Dracut. He has
continued his education at the Middlesex Community College where he took a remedial math
class and an English composition class during the first semester of the 2008-2009 school
year. Student’s English composition professor, Ms. Jewell Davis, testified that Student was
one of 18 or 19 students in her first semester class. Ms. Davis explained that she found
Student to be likeable and intelligent, Student attended every class, and he passed her course.
Ms. Davis stated that her class was conducted entirely on the basis of classroom discussion
without lectures. Ms. Davis testified, however, that Student was completely unsuccessful in
following the classroom protocol regarding classroom discussion (details of Ms. Davis’
testimony are provided below in section V.B. of this Decision). Testimony of Mother,
Davis.

The former Dracut autism specialist (Ms. Cotter) testified (after hearing Ms. Davis’
testimony) that she was not surprised to hear Ms. Davis’ testimony of Student’s difficulties
with a class that utilized entirely a discussion format where Ms. Dayis had not made clear at
the outset of the course her expectations regarding classroom participation. Testimony ot
Cotter.

Mother and Student testified regarding Student's life since the ending of High School in June
2008. Mother stated that Student does not leave the house by himself except to go to his
classes at Middlesex Community College twice each week. He does not have friends. He
does not have visitors at home. He does not talk to anyone on the phone. A typical day for
Student is to get up late, he spends time on the computer, researching prices to buy computer
parts and repairing computers, and he stays up late. He bathes or showers only twice a week
(before going to his college classes two days per week), and he is not brushing his teeth.
Testimony of Mother, Student; exhibit P-43 (page 3).

In September 2008, Student had to learn how to take the bus to get to college since he did not
have his driver’s license. Mother was able to teach her son how to take the bus to college,
but he has not been able to learn any other bus routes. Testimony of Mother

Student has not been able to obtain a driver’s license because he is unable to understand the
driver's manual]. Student finds it too difficult to use the manual because it is not broken down
into manageable chunks of information, with the result that the manual overwhelms him.
Testimony of Student, Mayer.

Student has attempted to fill out (but has been unable to complete} job application forms as
he typically becomes stuck on the military service portion of the application even though
Student has not been in the military. Testimony of Mother.

Evaluation and Testimony by Dr. Levine. On February |, 2006, at the request of Parents,
Karen Levine. PhD, saw Student for a diagnostic psychology consultation and prepared a
written report entitled “Psychology Note.” Testimony of Levine; exhibit P-3.

Prior to this consultation, Dr. Levine had indirect famillarity with Student since Dr. Levine
provided consuitation to the Spotlight Program that Student attended. Dr. Levine co-signed a

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Spotlight progress report for Student, which indicated that the primary goals addressed by
Spotlight were Student’s deficits regarding social pragmatics, and more specificaily, his
difficulties with (1) social referencing (i.e., non-verbally observing what someone is talking
about), (2) timing in conversation, (3) turn-taking, (4) social appropriateness, and (5) tone of
voice madulations. Dr. Levine testified that social pragmatics, in general, and the more
specific difficulties listed in the progress report, above, are common issues for someone with
Student’s disabilities. Testimony of Levine; exhibit P-4 (2"° page).

Dr. Levine testified, and her report reflects, that Student was a delightful, charismatic, young
man who presented with difficulties typical of a student with Asperger’s Syndrome. More
specifically, she explained that (1) Student’s timing of conversation was off and he did not
check in with the listener; (2) his voice volume and body orientation were inappropriate to
the situation; and (3) he had difficulty with topic maintenance and reverted to his own topic.
She also noted Student's pressured speech and manic style that are common for students with
Asperger’s Syndrome. Testimony of Levine; exhibit P-3.

Dr. Levine testified that Student’s own conversation topics were of particular concern, as
Student spoke of religious disciples who would come to his bedroom at night, he saw and
talked to them, and he was adamant that they were real even though others could not see or
hear them. Dr. Levine concluded that although Student was not likely psychotic, he needed a
more intensive, therapeutic program that could address the mental health underpinnings of
his behavior. Testimony of Levine; exhibit P-3.

Dr. Levine testified that she has not seen Student since her evaluation of him in February
2006. However. she noted that she had reviewed other reports and records pertaining to
Student, including Elsa Abele’s observations and evaluations of January 10, 2005 and May 1,
2007 (exhibits P-7, P-8), Michelle Mayer’s assessment of Student in October 2008 (exhibit
P-43), and letters dated October 3, 2008 reflecting behavioral concerns at Middlesex
Community College (exhibits P-44, P-45), and Student’s more recent IEPs. Testimony of
Levine; exhibit P-3.

Dr. Levine testified that the more recent reports and records regarding Student reflect content
and description of Student similar to that contained in her report of February 2006. On the
basis of her own evaluation and the review of more recent reports and records, Dr. Levine
testified that Student needs continuing support regarding social situations as he moves from
the High School environment to less protected environments in the community. She
explained that in any environment where there are variables new to him, Student has to re-
learn how to act and respond. She noted that Student can be taught to adapt to new
situations, and he can be successful within a new environment when it becomes familiar ta
him and he fearns what ts expected of him, but he requires support to make this transition
since he is not capable of intuitively generalizing what he has learned previously.

In her testimony, Dr. Levine also expressed concern regarding Student’s impulsivity, with
the result that when there are misunderstandings and without sufficient support, there may be
altereattons (Dr, Levine noted that the October 3, 2008 letters in exhibits P-44, P-45 may be
examples of this). Dr. Levine also testified that given Student's mental health deficits, the
above issues wul likely be magnified under stress. Dr. Levine concluded that without

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appropriate supports, Student will unlikely be successful generalizing to new environments
what he has previously learned, and he would be at risk of social isolation and depression.
Testimony of Levine; exhibit P-3.

Observation, Evaluation, and Testimony by Ms. Abele. In January 2005 and May 2007,

Mary [Elsa Abele, MS, CCC, at Parent’s request, conducted functional language pragmatics

observations and evaluations, and she prepared a written report in each instance. Testimony
of Abele; exhibits P-7, P-8.

Ms, Abele found that both in January 2005 and in May 2007, Student had the same three
basic pragmatic language deficits: (1) failure to understand the conversational hierarchy and
listening hierarchy necessary to have a schema of the skills of talking with a conversational
partner; (2) inability to organize and relate personal event narratives by telling mini-
monologues within a conversation, which are used to make a connection with a
conversational partner; and (3) lack of “self-talk” skills -—that is the ability to evaluate and
reflect upon, and then edit and filter one’s own thoughis belore acting or speaking.

Ms. Abele observed that in the classroom in both January 2005 and May 2007, Student’s
pragmatic language deficits resulted in his asking questions and making comments that were
inappropriate within a group or community context and would be appropriate only if he were
the only student in the classroom—that is, a 1:1 tutorial. For example, in May 2007, he
unexpectedly interjected a personal announcement during class that “third period I have long
weight lifting and last period long story” and then immediately gave a correct answer to a
question regarding continuously compounding interest. Ms. Abele testified that she observed
that Student still did not understand the rules and expectations of discussions in a classroom.
Similarly, in January 2005, Student was observed in Spanish class raising his hand (to be
called on) and answering a question at the same time, and at times, calling out information
unrelated to the group discussion. Ms. Abele testified that Student lacked the skills
necessary to be included in classroom discussion in a meaningful manner and to connect with
others in a reciprocal manner. During both classroom observations (in 2005 and 2007), the
teacher and other students interacted with Student in the same ways, and Student
demonstrated no improvement (from January 2005 to May 2007) in his pragmatic language
skills. During both evaluations (January 2005 and May 2007), Ms. Abele interviewed
Student and found similar pragmatic weaknesses during the course of the tnterview.

Ms. Abele testified that Student’s strength is to talk about subjects that interest him and to
drive the content of the discussion. This allows Student to enjoy (and be successful when)
talking to adults who hold the conversation together, help Student to organize his thinking.
and take responsibility for “making the canversation work”, without expecting a reciprocity
of conversation. Student can be articulate in verbalizing his own thoughts within this
contest.

With respect to hos pragmatic language weaknesses, Ms. Abele testified that Student tends to
say too much on subjects of interest to him and is not skilled at taking into consideration the
interests, perspective, and needs of the ather person in the conversation. Thus, he has limited
skills relative to the reciprocity of conversation. Similarly, Student is generally unaware of
what language is or is not appropriate within a specific context and therefore does not have

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the ability to adjust his language accordingly—for example, he was not able to distinguish
between what would be appropriate speech within a 1:] conversation as compared to what
would be appropriate speech within a classroom context during the classroom observations in
2005 and 2007. Similarly, Ms. Abele testified that Student is generally unaware of non-
verbal communication of others, and therefore is not able to receive and make use of this
information, and this is a necessary part of effective communication since so much of what is
communicated is done non-verbally. Student also does not have the ability to monitor his

own participation in conversation and to make adjustments to conform to the expectations of
those with whom he is speaking.

Ms. Abele testified that Student’s Asperger’s Disability is a neurological disorder that will
not disappear or change. Ms. Abele concluded after her record review that without having
received the specific instruction necessary to ameliorate his weaknesses, Student would
necessarily continue to have these same pragmatic language deficits today as he
demonstrated in January 2005 and again in May 2007.

Ms. Abele testified as to the future implications to Student of having these continuing
deficits. She explained that although the development of appropriate language pragmatics
skills is only one part of a student’s education, the implications of deficits in this area are
pervasive in that they are likely to jeopardize Student’s success in higher education,
employment, and living independently. Ms. Abele noted that in whatever context Student
participates after High School, in order to be successful he has to communicate in a manner
that is in conformity with the general expectations within that particular context and that does
not break the written or unwritten rules of behavior, and he has to be able to receive
information from others through verbal and non-verbal communication.

Ms. Abele testified that without development of pragmatic language skills (that Student
currently does not have), he does not have sufficient communication skills to obtain the
information that he needs and to apply his intelligence and skills. As a practical matter, for
example, Student has the skills and knowledge to obtain employment but does not have the
communication skills to be successful at work and hold a job. Similarly, the letters from
Middlesex Community College (exhibits P-44, P-45) illustrate how Student must learn to
conform his communication to the expectations of this educational context if he is to
continue at the College. Ms. Able concluded by noting that if Student does not develop
appropriate and adequate pragmatic language skills, he is likely to go in and out of higher
education and in and out of jobs, with the result that he as at risk of becoming discouraged,
slaying at home, and fatling to realize his potential to live independently.

Ms. Abele testified that Student is intelligent and motivated to learn, and he has a relatively
strong understanding of content language (for example, vocabulary). Ms. Abele explained
thal notwithstanding these strengths, Student (as one would expect of other persons with his
disability) does not have the innate ability to learn from context or the environment what
language to use. As a result, he also does not have the ability to model his language from
others by observing and copying what language they are utilizing.

Ms. Abele testified that in order to address his pragmatic language deficits, it is necessary
that Student be provided a specific curriculum that is taught to him on a step-by-step basis.

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The curriculum must explicitly teach Student how to interact with and communicate with
others. The curriculum must specifically address each of Student’s three basic deficit areas
(referenced above). Those teaching Student language pragmatics must have an
understanding of how language works and must have the skills to explicitly address
Student's pragmatic language deficits,

Ms. Abele testified that Student (as others with Asperger's Syndrome) is likely to quickly
understand the concepts of language pragmatics, but it is much more difficult for him to
apply these concepts. Accordingly, pragmatic language instruction must be done
systematically on a step-by-step basis, with a significant amount of practice with a language
pragmatics teacher and at least one peer. Practice needs to occur within a variety of contexts,
including higher education and employment, in which Student will be actually functioning
after High School. In order to make meaningful gains in language pragmatics, these skills
need to be taught with consistency and need to be taught over a period of time. This is
necessary so that Student will be able to actually make use of his pragmatic language skills
within the tmportant contexts of his life (which are higher education, employment, and
independent community living).

Ms. Abele testitied that, as a practical matter, a pragmatic language group can be uttlized
initially to teach the skills. This can occur typically by meeting for approximately one and
one-half hours, once per week, for a period of one and one-half to two years. The group is
utilized to work on specific skills. She explained that, in addition, a personal coach should
be utilized to accompany Student into the actual environments (for example, job site, library,
and higher education classroom ) where Student will be utilizing verbal language. Typically,
the job coach would be with Student once each day in different environments over the course
of an entire school year, with continuation (but spending less time with Student) in a
subsequent year.

Ms. Abele testified that subsequent to her January 2005 observation and evaluation, she
presented her findings and recommendations to an IEP Team meeting. Ms. Abele further
testified that none of her recommendations was adopted by the Team and none of Student’s
services was changed as a result of Ms. Abele’s evaluation since, apparently, the Dracut
Team members believed that Ms. Abele’s areas of concern were already being addressed
appropriately. Testimony of Abele.

Ms. Abele testified that subsequent to her May 2007 observation and evaluation, the IEP
Team met to consider her report but did so at a time that was not convenient for Ms. Abele,
with the result that she was unable to attend the meeting. She testified that none of the
Dracut members of the [EP Team followed up with her, and Student’s services were not
changed as a result of her findings and recommendations.

Ms. Abele testified that Dracut could have addressed Student’s pragmatic language deficits
following her January 2005 observation and report, and again had the opportunity to address
these deficits following her May 2007 observation and report. She explained that with
appropriate instruction, Student would likely have made effective progress regarding
language pragmatics.
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Testimony and assessment by Ms. Mayer. In October 2008, Michele Mayer (Education
Specialist and Board Certified Behavioral Analyst) conducted, at Parents’ request, a
readiness-to-graduate assessment of Student. Testimony of Mayer.

Ms. Mayer’s assessment of Student included a record review, direct observation and testing
of Student, and interviews of Student, Mother, and four Dracut staff. Ms. Mayer noted that
her testing was for the purpose of filling in the gaps of previous testing—she opined that the
previous vocational testing was not sufficiently comprehensive, and that there was no
previous testing regarding independent living skills—-and was also used to confirm the
results of previous testing by others. She further explained that her assessment included
Student’s participating in a mock employment interview and his completing an employment
application.

The overall scope of Ms. Mayer’s evaluation was comprehensive, including consideration of
(1) Student’s vision for moving from school to post-school life, (2) what evaluations have
been utilized and what further evaluations need to occur in order to determine what needs to
be done to facilitate this movement, (3) the school district’s transition plans and
implementation of those plans, (4) what gains have been made for purpose of moving
Student successfully to post-school life, and (5) what additional planning and services need
to be provided in order to allow Student to become successful in post-secondary education,
employment, and independent community living.

Ms. Mayer found that Student’s general “problem areas” were personal hygiene,
socialization skills (having a lack of friends), inability to control his feelings in a variety of
situations, and his lack of work experience.

In Ms. Mayer’s opinion, the development of Student’s transition services should be informed
by an identification of Student’s strengths, preferences, and interests. This information
should be used to design a coordinated set of activities that focus on improving both
academic and functional achievement to facilitate Student’s movement from schoo! to post-
secondary activities. Ms. Mayer’s report recommends that, at a minimum, these activities
should address the areas of instruction, community experiences, and the development of
employment and other post-school adult objectives, such as daily living skills.

Ms. Mayer testified that Student did well in a mock employment interview and was able to
complete a job application. Ms. Mayer further testified that Student’s strengths include
having a high degree of understanding of appropriate interactions with peers and supervisors
within the work setting, but this does not reflect actual skills in this area. Ms. Mayer found,
based upon past history, that Student would not likely be able to apply successfully these
skills when he is under stress on a job site.

Ms. Mayer testified and her report indicates that Student was observed to have good ability
to take a bus from home to Middlesex Community College where he has been attending
classes. However, Ms. Mayer found that Student has limited transportation skills, becoming
confused when looking at different bus schedules and what the information on these
schedules meant. She concluded that Student needs additional training to learn how to

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understand and utilize bus schedules (particularly since he does not have a driver’s license)
so that he will be able to access work, school, and other activities within the community.

Ms. Mayer testified and her report reflects her belief that Student requires additional services
in order to be ready to graduate. In her opinion, a wide variety of services are needed to
allow Student to function within the post-secondary school environment, the work
environment, and the community. Ms. Mayer specified a number of areas in which Student
requires additional training, including (1) vocational training in the community (emphasizing
his ability to actually complete the work, his work speed, and his work consistency), (2)
learning the social culture of the work environment (including Student’s having someone
with him who could process any mistakes in order for Student to learn how to handle similar
situations in the future), (3) developing the ability to self-assess what job characteristics are
satisfactory and what are unsatisfactory for Student, (4) overall career development skills
training, (5) weekly social skills training in a home or community setting (such as a college
or library) by a Board Certified Behavioral Analyst, with interventions matched specifically
to Student’s social skills deficit areas, (6) imstruction in the “hidden curriculums” across the
various environments in which he functions, (7) personal hygiene instruction, (8) supports
that will allow Student to gain independence in personal hygiene (this is essentially the need
for organizational support for Student so that he can learn to actually do in his daily life what
he already understands needs to be done}, (9) additional organizational instruction so that
Student will learn to independently organize multi-step tasks and assign realistic timelines to
the steps. (10) instruction in math applicable to daily living situations, (11) travel training to
become independent in traveling within the community (including instruction while actually
riding public buses with Student so that the instruction goes beyond Student’s obtaining only
a conceptual understanding of what is needed), (12) consultation to allow Student to identify
a peer with whom Student can develop social interaction skills, and (13) instruction on the
development of self-management and self-determination skills (which includes choice-
making skills, problem-solving skills, goal-setting skills, risk-taking skills, safety skills, self-
advocacy skills, and self-knowledge) so that he can continue to make his own decisions
about his life, so that he can change his own behavior as needed, and so that he can become
independent of his family and social services agencies. Ms. Mayer testitied that Student
should have an IEP with measurable performance criteria and measurable objectives for
generalization of skills for the purpose of implementing the above-described educational
services.

Ms. Mayer also recommended that additional testing occur in order to determine the extent
of Student’s social skills deficits, including his specific deficit areas. She explained that one
needs to look carefully at the actual social skills incidents that have occurred and what his
skills actually are, so one can tease out more thoroughly what his social deficits are in
practice. The assessment would be done, in part, through interviews of others who have
encountered Student.

Ms. Mayer testified that, in general, Student knows what he should do in many situations
and, for example, in counseling, he can talk about what he should do. Ms. Mayer opined,
however, that when faced with an actual situation that causes him stress or anxiety, Student
often is not been able to apply what he knows. Ms. Mayer termed this a fluency deficit,
which requires training that is different than what has been provided in the past to Student.

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For example, Student has learned certain organization skills while in High Schooi. In
addition, for example, Student was able to do extremely well in High Schoo! science class,
where information is typically broken down into chunks of manageable information and
there is an opportunity to ask questions and clarify one’s understanding. Ms. Mayer testified,
that nevertheless when reviewing the driver’s manual on his own, Student felt overwhelmed
by it as he was unable to break down the material, organize it, and access it in manageable
parts. Ms. Mayer explained that without someone helping Student to do this with the
driver’s manual, he was not able to access it and therefore continued to be unable to obtain a
driver’s license. In other words, Ms. Mayer stated that while the academic learning and
organizational training that Student received from Dracut were helpful in allowing Student to
be successful within the High School, it did not prepare him to apply or implement what he
knows into other settings—more specifically, employment, post-secondary education, and
independent community living.

Ms. Mayer testified that the Dracut work internships were not sufficient because they all had
very limited number of hours per week compared to actual work in the communily, and
Student was not exposed to the full range of situations involving interaction with the public
and peers. Ms, Mayer explained that Student therefore did not experience all of the
communication and social skills scenarios typically found within a job in the community.
Ms. Mayer testified that one cannot assume that Student can generalize the skills that he
learned and utilized within these internships.

Ms. Maver testified that it is not appropriate for Student to graduate even though he has met
certain academic standards, because the requirement of transitional services is that there
needs to be a coordinated set of activities that are in place to move Student trom the school
environment to the environment in which he will learn, work and live after school, and, in
Ms. Mayer’s opinion, it is Dracut’s responsibility to provide these services. Ms. Mayer
stated that the process is for appropriate transitional objectives to be established by the Team
in order to move Student to the next step, and once those objectives are achieved, Student
should receive a diploma. She opined that this does not require Dracut to teach every skill
needed to be successful as an adult, but services need to be provided to move Student in that
direction.

Ms. Mayer testified that (1) Student has never received the needed transition services in
employment, education, and community living; (2) the implications to Student are that he
will not receive sufficient services and support to avoid employment termination because of
a lack of social skills in the work place (which, in her opinion, is the principal reason people
are terminated from work); (3) he would not have sufficient skills for finding new work; and
(4) there would likely be a pattern of short employment followed by long periods of
unemployment. Ms. Mayer testified that Student’s post-secondary education and job
opportunilics are impacted by Student's inability to get there, so he needs additional travel
transportation in order to access his education. Ms. Mayer made the following additional
points in her testimony regarding Student’s organizational! deficits: (1) Student is likely to be
successful in post-secondary education, but only with someone to provide organizational
supports for Student while he is in school. (2) Currently, Student is unable to live
independently and will have to continue to live with his family. (3) Student is capable of
performing many independent living skills but he has an organizational deficit that precludes

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him from understanding a schedule or how all the pieces fit together. (4) Because of his
Asperger’s Syndrome, Student is not able to learn these organizational skills on his own or
from his peers or family, but rather requires explicit instruction in all of these areas from
someone who knows how to teach these skills to someone with Student’s disability. Ms.
Mayer also testified that with supports, Student is likely to make a large leap to live
independently. She opined that long term, without appropriate prospective services, Student
will likely be dependent on welfare and social service systems, yet with a minimal
investment now in appropriate transitional services, the impact on the welfare and social
service systems will be minimized.

Ms. Mayer testified that each community employment experience for Student should
generally last three to four months part-time, with the amount of time at work increasing over
time to 20 hours per week and Student also continuing in school part-time. She explained
that Student does not necessarily need to experience all four separate community-based
experiences (although this is best practices, as reflected within her report) to receive
appropriate transition services, bul she believes that Student should receive sufficient
community employment experience so that Student obtains the ability to generalize what he
has learned. Accordingly, Ms. Mayer recommended that as part of Student’s community
employment experience, it be determined whether there is sufficient evidence that the skills
taught in one job site can be utilized in another job site. She noted that Student needs to have
sufficient range of experiences for these purposes.

Ms. Mayer testified that she would not necessarily recommend a job coach since this may be
stigmatizing to Student. She explained that Student does not require daily coaching at work,
but rather, someone needs to be at the job site initially so Student understands what is
required and the timelines for completion of tasks. Ms. Mayer testified that this instruction
could occur over a week or two, with fading, and then weekly consultation thereafter would
be sufficient.

Ms. Mayer testified that within higher education, Student should be provided support with
organizational skills, which could be taught outside of the classroom. She believes that this
is the principal piece needed by Student in order to be successful in higher education.

Ms. Mayer testified that it is predictable of a student with Asperger’s Syndrome, such as
Student, to do extremely well academically and then have gaps on the functional side, with
those gap areas needing to be separately addressed through services that are often not
provided through the general curriculum.

Ms. Mayer testified that her report was presented to an IEP Team meeting in November
2008. She noted that the Dracut members of the Team concluded that the services that
Dracut had been providing Student were sufficient and therefore no additional services, as
recommended in Ms, Mayer’s report, were added to the IEP.

Testimony by Ms. Hart. Debra Hart, MS, is the director of the education and transition
team of the Institute for Community Inclusion. Her team includes [5 staff people working in
the area of transition from secondary school to adult life. In this capacity, she has worked
with over 300 school districts. Ms. Hart has a demonstrated expertise regarding national

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standards relevant to a schoo! district’s responsibility (based upon requirements found within
the federal special education statute) to provide transition services and planning. She has
also worked with students to develop appropriate transition plans, including many students
with Asperger’s Syndrome. Testimony of Hart; exhibit P-9,

Ms. Hart testified that in order to comply with federal statutory standards regarding transition
services, Student’s IEP should reflect transition services relevant to the three areas’ of
employment, education, and community living. She noted that although each of these three
areas must be addressed through transition services, the degree or extent of services will
depend on the particular student.

Ms. Hart testified regarding standards developed by the National Secondary Transition
Technical Assistance Center (NSTTAC). The purpose of NSTTC is to assist states to build
capacity to support and improve transition planning, transition services, and transition
outcomes for youth with disabilities. Their standards are premised upon the transition
planning and transition services requirements contained with federa! special education law
(IDEA 2004), She explained that NSTTAC Indicator # 13 pertains to students aged 16 years
and above who have an [EP with transition services, and a checklist for Indicator # 13 asks
seven questions for purpose of determining whether the IEP meets the NSTTAC standards.
Testimony of Hart; exhibit P-10, P-11.

The checklist for Indicator # 13 includes seven questions which focus on whether an IEP, on
its face, includes an appropriate, measurable postsecondary goal or goals. Ms. Hart testified
that pursuant to the checklist, as well as under IDEA 2004, an IEP must address
appropriately the three specific transition areas of (1) education or training, (2) employment,
and, (3) independent living as needed. Ms. Hart noted that Student’s own vision statement
relates to all three transition areas.

Ms. Hart testified that she has reviewed Student’s IEPs for the past three years, has reviewed
his other educational records, including evaluations, and has spent approximately one and
one-half hours interviewing Student. In her testimony, she compared Student’s IEPs over the
past three years with the NSTTAC Indicator # 13 checklist.

Ms. Hart testified that, in her opinion, each of Student’s IEPs over the course of the past
three years was deficient with respect to each of the seven questions posed by the Indicator #
13 checklist. In particular, Ms. Hart stated that (1) the IEPs did not include any measurable
postsecondary goals sufficient to address any of the three specific transition areas (described
above); (2) the TEPs addressed only social, emotional, and organizational skills, which
represent only a “sliver” of what is needed to cover the three specific transition areas; and (3)
Dracut’s vocational assessment was insufficient because it was only a formal (and not also a
situational) assessment and because it addressed only one of the three specific transition
areas (employment), with the result that Dracut’s assessments were insufficient to determine
Student’s postsecondary goals (Ms. Hart compared the HMEA observation/evaluation
conducted by Ms. Mayer, which she found to be more thorough).

In her testimony, Ms. Hart reviewed each of the transition plans that are part of Student’s
most recent three IEPs and found each to be inadequate for purposes of addressing Student’s

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transition needs in light of his educational profile. Ms. Hart listed the following deficiencies
in the transition plans: (1} Dracut should provide opportunities for Student to find out
information about a variety of real work situations within the community, (2) Dracut should
help Student learn how to access activities (such as recreational opportunities) in the
community, (3) Dracut should not limit its transition services to school-based activities but
rather should provide Student with opportunities to practice his skills within the actual
environments (including paid employment) in which he will be participating after High
School, and (4) Dracut should address Student’s needs in each of the three specific transition
areas, She testified that as part of its mandated transition services, Dracut should provide
Student with support in his post-secondary educational, employment, and community
environments—tor example, an educational coach who could help Student navigate his
academic and non-academic environments and whose participation would fade over time.

Evajuation and Testimony by Mr. Brooks. Over the course of two days m August 2007,
Brad Brooks, M.Ed. conducted a McCarron-Dial Systems Vocational Evaluation of Student.
Dracut arranged for this evaluation at Parent's request. Mr. Brooks testified that his
evaluation of Student consisted of the following three parts: a battery of tests, including a
vocational interests test; a situational assessment that involves Student’s working in a
placement for a day; and an observational inventory filled out by Ann Nicholson (Student’s
special education teacher at Dracut High School). The evaluation explained that the tests
administered to Student are designed to assess intellectual functioning, sensory/motor ability,
coping adaptive behavior, and emotional strengths and limitations. Testimony of Brooks;
exhibit P-14.

Mr. Brooks testified that the evaluation results indicated that Student has mild impulsivity
(i.e., occasionally overreacting in an impulsive manner), an occasional difficulty “standing
up” to stress, and an inability to understand the effect of his own conduct on the performance
or morale of others. Mr. Brooks stated that, in his opinion, Student has the ability to take
college courses. Mr. Brooks also noted that Student would not be appropriate for any of the
transition programs at the Merrimack Education Collaborative, which programs are generally
for persons diagnosed with mental retardation, because Student has the skills to continue his
education with support from public agencies such as the Massachusetts Rehabilitation
Commission. Finally, Mr. Brooks testified that it would be valuable for Student to
participate in simulated employment situations in the community. Testimony of Brooks;
exhibit P-14 (page 5).

Mr. Brooks’ evaluation results generally were that “vocational counseling and guidance with
minimal job search may be needed.” Also, the evaluation concluded that Student's predicted
residential level is within the “community living” range, indicating that Student is capable of
“autonomous” living within the community with minimal need for assistance. Exhibit P-14

(page 4).
Mr. Brooks’ report made a number of recommendations, including the following:

[Student] may want to continue to take advantage of opportunities to explore career
options which take advantage of his many vocational strengths and interests. This
exploration will provide [Student] with more choices on which to base his future

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career decisions and gain better understanding of what is expected at ajob. This may
also provide a supportive environment in which to learn to relate effectively with co-
workers and supervisors.

Exhibit P-14 (page 10).
V. DISCUSSION
A. Introduction to FAPE Standards

It is not disputed that Student is an individual with a disability, and that at least through June
6, 2008 (Student’s graduation date), he fell within the purview of the federal Individuals with
Disabilities Education Act (hereinafter, “IDEA”)’ and the Massachusetts special education
statute.’ Pursuant to the IDEA and state special education statute, Student was entitled to
receive a free appropriate public education (FAPE) in the least restrictive environment.°

The Supreme Court has explained that under the federal statute, FAPE is intended to require
special education services that provide a "basic floor of opportunity" to a disabled student,"
allowing the student to access public education.’ Access must be meaningful,® but need not
maximize a student’s educational potential.’

 

720 USC 1400 et seq.

*“MGL c. 7IB.

> 20 USC 1400(d)(1 A); 20 USC 1412(a)(1KA); MGL ec. 71B, ss. 1, 2, 3.

° Hendrick Hudson Dist. Ba. of Educ, v. Rowley, 458 U.S. 176, 201 & n.23 (1982).

” Rowley, 458 U.S. at 192 (1982) (“intent of the Act was more to open the door of public education to handicapped
children on appropriate terms than to guarantee any particular level of education once inside”),

* Rowley, 458 U.S. at 192 (“in seeking to provide such access to public education, Congress did not impose upon the
States any greater substantive educational standard than would be necessary to make such access meaningful”), The
Supreme Court in Rowley also utilized the phrase “some educational benefit.” Row/ey, 458 U.S. at 200 (“Implicit in
the congressional purpose of providing access to a ‘free appropriate public education’ is the requirement that the
education to which access is provided be sufficient to confer some educational benefit upon the handicapped child”).
The “some benefit” phrase may be understood, in the context of the Row/ey decision as a whole, to require
“meaningful” benefit. See £.£. v. Ramsey Bd. of Educ., 435 F.3d 384, 395 (3d Cir. 2006), citing TR. ex ref. NR. v.
Kingwood Twp. Bd. of Educ., 205 F.3d 572, 577 (3d Cir. 2000) (phrase "some educational benefit", as utilized by
Supreme Court in Row/ey, requires provision of a "meaningful educational benefit"). See also Lauren P. v.
Wissahickon School Dist, 2009 WL 382529 (3" Cir. 2009) (IEP must confer “significant learning” and “meaningful
benefit” on student); N.B. v. Hellgate Elementary School Dist., 541 F.3d 1202, 1212-13 (9" Cir. 2008) (under 1997
amendments to the IDEA, a school must provide a student with a “meaningful benefit” which is more than “some
educational benefit”); Frank G. v. Board of Educ. of Hyde Park, 459 F 3d 356, 364 (2™ Cir. 2006) (IDEA requires a
student to be provided with “meaningful access” to education); 4.B. ex rel. D.B. v. Lawson, 354 F.3d 315, 319 (4"
Cir. 2004) (“state must provide children with ‘meaningful access’ to public education”); Alex R.. v. Forrestville
Valley Community Unit School Dist. #221, 375 F.3d 603, 612 (7" Cir. 2004) (question presented is whether the
school district appropriately addressed the student’s needs and provided him with a meaningful educational benefit),
cert, dented, 543 U.S. 1009 (2004); Deal v. Hamilton County Board of Education, 392 F.3d 840 (6" Cir. 2004);
Shore Regional High School Bd. of Educ. v. P.S., 381 F.3d 194, 198 (3d Cir, 2004); Houston Independent School
District v. Bobby R., 200 F.3d 341 (S™ Cir. 2000); Adams v. Oregon, t95 F.3d 1141, 1145 (9" Cir. 1999); Town of
Burlington v. Dep't of Educ., 736 F.2d 773, 789 (1st Cir. 1984) (“federal basic floor of meaningful, beneficial
educational opportunity”), aff'd 471 U.S, 359 (1985),

” Rowley, 458 U.S. at 197, n.21 (1982) (“Whatever Congress meant by an “appropriate” education, it is clear that it
did not mean a potential-maximizing education.”); Lt 7.B, ex ref, N.B, v. Warwick Sch. Com., 361 F.3d 80, 83 (Ist
Cir. 2004) (IDEA does not require a public school to provide what is best for a special needs child, only that it

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In addition, FAPE is defined by the IDEA to include state educational standards,"° The
Massachusetts educational standards are found within state statute and state education
regulations.'' Massachusetts standards provide that the special education services must be
designed to develop the student’s educational potential.’

In determining the quantum of educational benefit necessary to satisfy the IDEA, the
Supreme Court has explicitly rejected a bright-line rule. Noting that children of different
abilities are capable of greatly different achievements, the Court instead adopted an approach
that requires consideration of the potential of the particular student.'? Lower federal courts,
as well as Massachusetts special education regulations, similarly require the sufficiency of a
student's progress to be judged within the context of his individual potential or capacity to
learn.

 

provide an JEP that is ‘reasonably calculated’ to provide an ‘appropriate’ education as defined in federal and state
law.").

'° 20 USC 1401(9\(b); Winkelman v. Parma City School Dist, 127 §.Ct. 1994, 2000-2001 (2007) ("education must
... Meet the standards of the State educational agency); Mr. 1. v. Maine School Administrative District No. 53, 480
F.3d 1, 11 (1* Cir, 2007) (state may “calibrate its own educational standards, provided it does not set them below the
minimum level prescribed by the [IDEA]"). See also Philip T.K. Danie] & Fill Meinhardt, Valuing the Education of
Students with Disabilities: Has Government Legislation Caused a Reinterpretation of a Free Appropriate Public
Education?, 222 Educ. L. Rep. 515 (2007) (language of the 2004 Reauthorization of the IDEA as well as the
implementing Regulations “likely implies that FAPE now requires more than mere access to a basic floor of
opportunity and should be aligned with the high expectations in state educational standards”).

''MGL s. 71B, s.1 (definition of FAPE, describing Massachusetts educational standards as those “established oy
statute or established by regulations promulgated by the board of education”).

" MGL c. 71B, s. 1 (defining the term “special education” to mean “educational programs and assignments
including, special classes and programs or services designed to develop the educational potential of children with
disabilities”), See also MGL c. 69, s. 1 (“paramount goal of the commonwealth to provide a public education
system of sufficient quality to extend to all children the opportunity to reach their full potential ’”); 603 CMR
28.01(3) (identifying the purpose of the state special education regulations as “to ensure that eligible Massachusetts
students receive special education services designed to develop the student’s individual educational potential’);
Mass. Department of Education’s Administrative Advisory SPED 2002-1: Guidance on the change in special
education standard of service from “maximum possible development” to “free appropriate public education”
("FAPE"), Effective January 1, 2002, 7 MSER Quarterly Reports | (2001) (appearing at www.doe.mass.edu/sped)
(Massachusetts Education Reform Act “underscores the Commonwealth’s commitment to assist all students to
reach their full educational potential”).

* Rowley, 458 U.S. at 202.

" B.e., Lessard v. Wilton Lyndeborough Cooperative School Dist., 518 F.3d 18, 29 (1* Cir, 2008) (“levels of
progress must be judged with respect to the potential of the particular child. So here: while the reported progress is
modest by most standards, it is reasonable in the context of Stephanie's manifold disabilities and low JQ”); Beth R. v.
Forrestville Valley Comm. Unit Sch. Dist. No. 221, 378 F.3d 603, 615 (7 Cir. 2004) (requisite degree of
reasonable, likely progress varies, depending on the student's abilities”), cert, denied, 125 S, Ct. 628 (2004); Shore
Regional High School Bd. of Educ. v. P.§., 38) F.3d 194, 198 Gd Cir. 2004) ("IEP must be reasonably calculated to
enable the child to receive meaningful educational benefits in hght of the student's intellectual potential”) (Alito, J.);
Deal v Hamilton County hoard af Education, 392 F.3d 840 (6" Cir. 2004) (IDEA requires an IEP 10 confer a
‘meaningful educational benefit’ gauged in relation to the potential of the child at issue” (Houston Independent
School District v. Bobby R., 200 F.3d 341 (3" Cir. 2000) (progress should be measured with respect to the individual
student, not with respect to others); Afrs. B. v. Milford Board of Ed, 103 F.3d titd, 1122 (2d Cir, 1997) (“child's
academic progress must be viewed in light of the limitations imposed by the child's disability"); 603 CMR
28.05(4)(b) (Student’s LEP must be “designed to enable the student to progress effectively in the content areas of the
general curriculum”); 603 CMR 28.02(18) (‘Progress effectively in the general education program shall mean to
make documented growth in the acquisition of knowledge and skills, including sacial/emotional development,
within the general education program, with or without accommodations, according to chronological age and

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Massachusetts and federal educational standards require that a student’s JEPs be designed to
enable him to make effective progress.” And, the IEPs must be custom tailored to meet a
student’s “unique” needs so that he or she will receive sufficient educational benefit. 16

B. Transition Plans and Services; Services for Older Students under Mass. Regulations

At the heart of the instant dispute is a disagreement as to whether Dracut has provided
Student with appropriate transition plans, as well as appropriate transition services pursuant
to these plans, in compliance with its obligations under state and federal special education
law.

The IDEA requires transition services, which are developed through transition planning by
the IEP Team. The IDEA sets forth a number of requirements regarding transition services.
The statute begins by defining the term “transition services” as follows:

The term "transition services" means a coordinated set of activities for a child with a
disability that--

(A) is designed to be within a results-oriented process, that is focused on
improving the academic and functional achievement of the child with a disability to
facilitate the child's movement from school to post-school activities, including post-
secondary education, vocational education, integrated employment (including
supported employment), continuing and adult education, adult services, independent
living, or community participation;

(B) is based on the individuai child's needs, taking into account the child's
strengths, preferences, and interests; and

(C) includes instruction, related services, community experiences, the
development of employment and other post-school adult living objectives, and, when
appropriate, acquisition of daily living skills and functional vocational evaluation.’

 

 

developmental expectations, the individual educational potential of the child, and the learning standards set forth in
the Massachusetts Curriculum Frameworks and the curriculum of the district [emphasis supplied].”).

'S Massachusetts standards: 603 CMR 28.05(4)(b) (LEP must be “designed to enable the student to progress
effectively in the content areas of the general curriculum”); 603 CMR 28.02(18) (defining Progress effectively in
the general education program). Federal standards: 20 USC 1400(d)(4) (purposes of this title are . , . to assess,
and ensure the effectiveness of, efforts to educate children with disabilities” (emphasis added), Lena v. Portland
School Committee, 998 F.2d 1083, 1090 (1 Cir, 1993); Roland v. Concord School Committee, 910 F.2d 983,

991 (1* Cir. 1990} (“Congress indubitably desired ‘effective results’ and ‘demonstrable improvement’ for the

Act's beneficiaries”); North Reading School Committee v. Bureau of Special Education Appeals, 480 F.Supp.2d
479, 489 (D.Mass. 2007) (educational program “must be reasonably calculated to provide effective results and
demonstrable improvement in the various educational and personal skilfs identified as special needs”).

30 USC 1400(d 1A) GDEA enacted “Lo ensure that all children with disabilities have available to them a fice
appropriate public education that emphasizes special education and related services designed to meet their unique
needs and prepare them for further education, employment, and independent living"); 20 USC 14019), (29) (‘free
appropriate public education” encompasses “special education and related services,” including “specially designed
instruction, al no Cost to parents, to meet the unique needs of a child with a disability”); Honig v. DOE, 484 US,
305, 311 (1988) (FAPE must be tailored “to each child's unique needs”); Lessard v. Wilton Lyndeborough
Cooperative School Dist, 518 F.3d 18, 23¢1* Cir. 2008) (noting the schoo! district's “obligation to devise a custom-
tatlored LEP”).

'? 20 USC 1401(34).

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The federal DOE regulations similarly define the term “transition services” as follows:

§300.43 Transition services.
(a) Transition services means a coordinated set of activities for a child with a

disability that--

(1) Is designed to be within a results-oriented process, that is focused on
improving the academic and functional achievement of the child with a disability to
facilitate the child’s movement from school to post-school activities, including
postsecondary education, vocational education, integrated employment (including
supported employment), continuing and adult education, adult services, independent
living, or community participation;

(2) Is based on the individual child’s needs, taking into account the child’s
strengths, preferences, and interests; and includes--

(i) Instruction;

(ii) Related services;

(ii) Community experiences;

(iv) The development of employment and other post-school adult living
objectives; and

(v) If appropriate, acquisition of daily living skills and provision of a
functional vocational evaluation.

{b) Transition services for children with disabilities may be special education,
if provided as specially designed instruction, or a related service, if required to assist a
child with a disability to benefit from special education.’

Beginning not later than the first IEP to be in effect when the child is 16, and updated
annually thereafter, the IEP Team must include the following within each IEP:

(aa) appropriate measurable postsecondary goals based upon age appropriate
transition assessments related to training, education, employment, and, where
appropriate, independent living skills;

(bb) the transition services (including courses of study) needed to assist the
child in reaching those goals ....'°

By statute, Massachusetts recently lowered the age to 14 years old for beginning transition
+ ae 20
services.

Transition services are part of, and not separate from, a school district’s responsibility to
provide FAPE. Whether a student’s transition planning and services are appropriate must
therefore be considered within the context of the purposes of FAPE, as well as within the

 

8 34 CFR 300.43.

20 USC § 1414 (AU ADCVILD. See also 34 CFR §300.320(b).

* Section 2 of chapter 71B of the Massachusetts General Laws was amended by Chapter 285 of the Acts of 2008 to
require that beginning at age 14, or sooner if determined appropriate by the IEP Team, school age children with
disabilities are entitled to transition services and measurable postsecondary goais, as provided under the IDEA.

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court decisions interpreting the FAPE standard (discussed above in part V.A. of this
Decision).”!

The IDEA provides that a principal purpose of FAPE is to “prepare [students] for further
education, employment, and independent living."” This has led the First Circuit to state that
“the IDEA exists, in part to ensure children with disabilities receive an education preparing
them for employment.” The United States Supreme Court has further stated that Congress
passed the IDEA, in part, so that students with disabilities could "achieve a reasonable
degree of self-sufficiency" and "become a contributing part of our society."** The Sixth
Circuit has similarly explained that “[a]t the very least, the intent of Congress appears to
have been to require a program providing a meaningful educational benefit towards the goal
of self-sufficiency, especially where self-sufficiency is a realistic goal for a particular

child.”

The statutory and regulatory provisions regarding transition services, quoted above, make
clear that transition services are to be developed through an “outcome-oriented process.”
Transition services may be special education or related services. There is no explicit limit
placed on the amount or type of transition services to be provided. Transition services are to
be developed on the basis of the student’s particular needs, taking into account his strengths,
preferences, and interests.

The First Circuit has provided further guidance regarding transition services, explaining that
when evaluating the sufficiency of a school district’s transition services under the IDEA, the
transition services must be considered “in the aggregate and in light of the child's overall
needs.””° “The test is whether the IEP, taken in its entirety, is reasonably calculated to
enable the particular child to garner educational benefits."”’ Also, as with other parts of
FAPE, the transition services requirement “does not imply a substantive standard or a
particular measure of progress” but rather “specifies the perspective that participants in the
process should strive to attain but does not establish a standard for evaluating the fruits of
that process.””* At the same time, Congress has noted the importance of providing
“effective” transition services under the IDEA.”’

 

*! Lessard v. Wilton Lyndeborough Cooperative School Dist., 518 F.3d 18, 28-30 (1" Cir. 2008) (applying FAPE
standards to determine whether transition services were appropriate).

20 USC 1400(d\( LMA). See also Mr. fv. Maine School Administrative District No. $5, 480 F.3d 1, 12 (1 Cir.
2007) (“Maine's broad definition of ‘educational performance’ squares with the broad purpose behind the IDEA:
‘to ensure that all children with disabilities have available to them a free and appropriate public education that
emphasizes special education and related services designed to meet their unique needs and prepare them for further
education, employment, and independent living.’”).

2 Mtr. and Mrs. Iv. Maine Sch. Admin. Dist. No. 55, 480 F.3d 1, 18 (1® Cir. 2007) (citation omitted).

*“ Hendrick Hudson Dist. Bd. of Educ. v. Rowley, 458 U.S. 176, 201 n.23 (1982).

°° Deal y Mamilton County Bd of Educ., 392 F.3d 840, 864 (6th Cir. 2004). Sce also Kevin 7. v. Elimhnurst
Community School List. No, 705, 2002 WL 433061, *12 (N.D IIL 2002) (transtfion services are “[iJo ensure that
disabled students can adequately function in society after graduation’).

© Lessurd y, Wilton Lyndeborough Cooperative School Dist., 518 F.3d 18, 30 (1" Cir. 2008) (interpreting the IDEA
prior to the 2004 amendments).
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fa.
*§ Id. at 28.
” 90 USC 1400(c)( 14} (providing effective transition services to promote successful post-school employment or
education is an important measure of accountability for children with disabilities’).

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Transition planning and services have been further addressed in other federai district court
opinions and hearing officer decisions. These opinions and decisions have generally noted
the importance of transition services in allowing a student to be prepared for post-high school
education, employment, and independent community living.*? Also, the Massachusetts
Department of Flementary and Secondary Education (DESE) has developed a mandatory
transition form to be utilized by school districts,”

I will also consider whether Dracut has complied with the related Massachusetts regulatory
requirement that a schoo! district make available to older special education students the
following: continuing education; developing skills to access community services; developing
independent living skills; developing skills for self-management of medical needs; and
developing skills necessary for seeking, obtaining, and maintaining jobs.”

In light of these federal and Massachusetts statutory, regulatory, and judicial standards, I will
review Student’s unique transition needs; I will consider whether Dracut’s transition services

 

°° Elizabeth M. y. William S. Hart Union High School Dist., 2003 WL 25514791, *4 (C.D. Cal, 2003 (‘adequate
high schoo] education is inextricably linked to a successful transition to post-secondary education”); A.B. v.
Killingly Board of Education, 990 F.Supp. 57 (D.CT 1997) (student “could receive instruction in community
living and social skills, including daily iiving skills, appropriate behavior, socialization, and working skills, as
part of his transition services”); Yankton School District v. Schramm, 900 F.Supp. 1182 (D.S.D. 1995)
(‘Transition services are ‘aimed at preparing students (soon to leave school) for employment, postsecondary
education, vocational training, continuing and adult education, adult services, independent living, or community
participation.*") (emphasis in original), aff'd 93 F.3d 1369 (8 Cir. 1996); In Re East Hartford Board of
Education, 50 IDELR 240 (SEA CT 2008) (student’s transition needs pot properly addressed by IEP); /n Re:
Mason City Community School District, 46 IDELR 148 (lowa SEA 2006); fn Re: Quabbin Public Schools, 11
MSER 146 (SEA MA 2005) (noting the importance of appropriate transition services for purposes of a student’s
post-school life); Whitehall-Coplay School District, ¥7 IDELR 39 (SEA PA 2002) (transition plan must include
“a coordinated set of activities, services, and experiences designed to narrow the gap between [student’s]

current functioning and the demands of the chosen environment” such as college, work or community in which
student is likely to spend her early aduit life), Livermore Valley Joint Unified School District, 33 IDELR 288
(CA SEA 2000) (transition planning and services considered to be an essential part of student’s prescribed
course of study); Student v. Nevato Unified School District, SN 886-94, 22 IDELR 1056 (CA SEA 1995) (IDEA
mandates regarding transition planning and services “create a separate substantive entitlement’); Yankton
School District, 21 IDELR 772 (South Dakota SEA 1994) (“transitional services such as are requested by TS's
parents can stand alone as a speciai education program”).

*! The form requires that a school district develop “an ACTION PLAN needed to achieve the POST-SECONDARY
VISION by outlining the skills the student needs to develop and the courses, training, and activities in which the
student will participate.” In developing the Action Plan, the DESE transition form further requires the schoo!
district to consider with respect to employment such options as “part-time employment, supported job placement,
service learning projects, participation in work experience program. job shadowing, internships, practice in resume
writing/ interviewing skills, the use of a one-stop resource center and job specific skills in areas such as customer
service, technology,” and to consider with respect to community experiences and post-school adult living such
options as “participation in community based experiences, learming how to independently access community
resources, building social relationships, managing money, understanding health care needs, utilizing transportation
options and organizational skills.” The DESE transition form may be found at:
http://www.doe.mass.edu/sped/28MR/28m9 doc

” The regulations (603 CMR 28.06(4)) provide, in relevant part, as follaws:

Programs for older students, The schoo] district shal! ensure that options are available for older students,
particularly those eligible students of ages 18 through 21 years. Such options shall include continuing
education; developing skills to access community services; developing independent living skills;
developing skills for self-management of medical needs; and developing skills necessary for seeking,

obtaining, and maintaining jobs. ...

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appropriately addressed those needs for the purpose of enabling Student to make meaningful
and effective progress towards being prepared for postsecondary education, employment,
independent living, and community participation, and for purpose of achieving a reasonable
degree of self-sufficiency; I will consider whether Dracut satisfied the Massachusetts
requirement regarding programs for older students; I will then determine whether each JEP,
when viewed in its entirety, is reasonably calculated to enable Student to garner sufficient
educational benefit; and finally, I will determine what relief, if any, is appropriate.

Transition Assessments. The IDEA requires that a school district conduct “age appropriate
transition assessments related to training, education, employment, and, where appropriate,
independent living skills ....”°? Dracut did not conduct an appropriate transition assessment
regarding any of these four areas.

Dracut’s only relevant assessment was a vocational assessment that was performed at
Parent’s request. It is self-evident that this assessment did not address other areas important
to Student-—that is, postsecondary education and independent living skills. In addition, the
vocational assessment performed by Dracut was insufficient even for the purpose of
determining Student’s vocational needs because it was only a formal (and not also a
situational) assessment. In addition, Dracut did not conduct this assessment in a timely
manner.” Testimony of Hart, Mother.

Other, more comprehensive and useful assessments (for example, Dr. Levine’s assessment,
Ms. Abele’s two assessments, and Ms. Mayer’s assessment) were conducted by Parents.
Parents shared these assessments with Dracut, and Dracut apparently considered them at IEP
Team meetings but declined to utilize the assessments or adopt any of their recommendations
because the Dracut members of the IEP Team apparently concluded that Student was making
sufficient progress in High School without the need for any additional transition services.
Testimony of Abele, Mayer, Cotter.

Without appropriate evaluations being conducted or considered by Dracut, it was not
possible for Dracut to understand the nature and scope of Student’s deficits as those deficits
pertained to his transition from High School to postsecondary education, employment, and
independent living. This led directly to Dracut’s failure to propose appropriate transition
plans and services.**

Dracut’s Transition Plans. The IDEA requires that Dracut develop, as part of its transition
plans, “appropriate measurable postsecondary goals based upon age appropriate transition
assessments related to training, education, employment, and, where appropriate, independent

20 USC & 1414 (CAG) VID(aa) (emphasis supplied). See also 34 CFR §300,320(b).

*" Parent requested a vocational evaluation on December 20, 2006. ‘The vocational assessment was eventually
completed in August 2007. Testimony of Parent, Stone; exhibits P-14, P-16, P-28, P-29, P-30.

°° Cf NB. v. Hellgate Elementary School Dist., ex rel. Bd. of Directors, Missoula County, Mont, 344 F.3d 1202,
1210 (9" Cir. 2008) (“without evaluative information that C.B. has autism spectrum disorder, it was not possible for
the IEP team to develop a plan reasonably calculated to provide C.B. with a meaningful educational benefit”),
Branham v. Government of the Dist. af Columbia, 427 F.3d 7, 12 (D.C. Cir. 2005) (“DCBPS's repeated failure to
evaluate Terrance led {o a "paucity’ of record evidence about Terrance’s disability. The record provides no insight
about the precise types of educational services Terrance needs to progress.”).

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“°® Dracut is then required to provide the “transition services (including

living skills ...
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courses of study) needed to assist the child in reaching those goals ...

Student’s transition needs, as well as his vision statements, indicated that Student should
receive transition services to address his deficits regarding the three principal areas of
postsecondary education, employment, and independent living. Yet, Dracut’s IEPs did not
include any goals to effectively address Student’s vocational needs and independent living
skills deficits. Exhibits P-16, P-19, P-21, S-12, S-15, 8-24, 8-25. Inevitably, this limited
Dracut’s ability to develop transition services in the transition plans, since the transition
services are driven by what is necessary for the student to reach his postsecondary goals.

Student’s Pragmatic language Deficits. In January 2005 and May 2007, Ms. Abele
conducted observations and evaluations of Student’s functional pragmatic language skills. In
each instance, she prepared a written report, which was shared with the IEP Team.

Ms. Abele’s testimony and reports were persuasive and effectively unrebutted, and I so find,
that Student had and continues to have basic pragmatic language deficits, that these deficits
were first identified by her in January 2005, and that these deficits have not been addressed
in any meaningful way by Dracut since at least 2005. Student’s pragmatic language deficits
may be summarized as follows: (1) failure to understand the conversational hierarchy and
listening hierarchy necessary to have a schema of the skills of talking with a conversational
partner; (2) inability to organize and relate persona! event narratives by telling mini-
monologues within a conversation, which are used to make a connection with a
conversational partner; and (3) lack of “self-talk” skills —that is the ability to evaluate and
reflect upon, and then edit and filter one’s own thoughts before acting or speaking.

As a consequence of these deficits, Student lacks the skills necessary to be included in
classroom discussion in a meaningful manner and to connect with others in a reciprocal
mamner. For example, Student tends to say too much on subiects of interest to him and is not
skilled at taking into consideration the interests, perspective, and needs of the other person in
the conversation. Thus, he has limited skills relative to the reciprocity of conversation.
Similarly, Student is generally unaware of what language is or is not appropriate within a
specific context and therefore does not have the ability to adjust his language accordingly-—
for example, he was not able to distinguish between what would be appropriate speech
within a 1:1 conversation as compared to what wouid be appropriate speech within a
classroom context. In addition, Student is generally unaware of non-verbal communication
of others, and therefore is not able to receive and make use of this information. Awareness
of non-verbal communication is a necessary part of effective communication since so much
of what is communicated is done non-verbaily. Student also does not have the ability to

“20 USC § 1414 (d)CILA)G)CVIED(aa) (emphasis supplied). See also 34 CFR §300.320(b).

720 USC § 1414 (AMI MADCVIID (bb) (emphasis supplied). See also 34 CFR §300.320(b).

** Ms. Abele, who is a licensed and certified speech-language pathologist, has extensive knowledge, experience, and
expertise regarding the social or pragrnatic language needs of high functioning students on the autism spectrum and,
in particular, of students with Asperger’s Syndrome. She has in the past (and continues) to provide consultation to
many school districts in Massachusetts regarding these issues; the consultations involve presenting workshops, and
working with groups of children as well as individual students to address pragmatic language deficits. Testimony of
Abele; exhibits P-6 (resume), P-7, P-8. Her expert testimony was careful, thorough, candid, and credible,

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monitor his own participation in conversation and to make adjustments to conform to the
expectations of those with whom he is speaking. Testimony of Abele; exhibits P-7, P-8.

Similarly, the February 1, 2006 report of Karen Levine, PhD, as well as Dr. Levine’s
testimony identified Student’s social pragmatic deficits as including the following:

(1) Student’s timing of conversation was off and he did not check in with the listener; (2) his
voice volume and body orientation were inappropriate to the situation; (3) he had difficulty
with timing and turn-taking in conversation, often reverting to his own topic rather than
maintaining the topic of the conversation, and (4) he had difficulty with social referencing
(i.e., non-verbally observing what someone is talking about). Testimony of Levine; exhibit
P-4 (2"4 page).

The practical implications of Student’s pragmatic language deficits are substantial and far-
reaching. Ms. Abele testified persuasively, and I so find, that although the development of
appropriate pragmatics language skills is only one part of Student’s education, the
implications of deficits in this area are pervasive in that they are likely to jeopardize
Student’s success in higher education, employment, and living independently. This is
because in whatever context Student participates after High School, in order to be successful
he has to communicate in a manner that is in conformity with the general expectations within
that particular context and that does not break the written or unwritten rules of behavior. He
also has to be able to receive information from others through verbal and non-verbal
communication so that he can apply his intelligence and skills. As a practical matter, for
example, Student has the skills and knowledge to obtain employment but does not have the
pragmatic language skills to be successful at work and hold a job. Ms. Able testified
persuasively, and I so find, that if Student does not develop appropriate and adequate
pragmatic language skills, he is likely to go in and out of higher education and in and out of
jobs, with the result that he as at risk of becoming discouraged, staying at home, and failing
to realize his potential to live independently. Testimony of Abele; exhibits P-7, P-8.

Student’s pragmatic language deficits and the implications of those deficits regarding his
participation in postsecondary education were amply illustrated by the testimony of Professor
Davis, who taught Student an English composition class during the first semester of the
2008-2009 school year at Middlesex Community College. Ms. Davis explained that she
found Student to be likeable and intelligent, Student attended every class, and he passed her
course, but Student was completely unsuccessful in following the classroom protocol
regarding classroom discussion. Ms. Davis testified that Student would loudly answer her
questions without waiting for her to call on Student or anyone else to answer, Student did not
stay on topic when answering a question (for example, his answer would drift into personal,
unrelated stories) without apparently realizing that he had gone off on a tangent, Student
would “talk over” other students when they spoke, Student would speak for inappropriately
long, periods of time, and he made it not possible to interrupt him without being rude
(nevertheless, Ms. Davis resorted to interrupting him at times). Ms. Davis stated that a
number of other students became distracted, angry, and frustrated by Student’s conduct in the
classroom, and they complained to Ms. Davis. Ms. Davis testified that almost on a daily
basis, she spoke with Student regarding his manner of participation in classroom discussion,
and he seemed to understand what Ms. Davis was concerned about, but Student was never
able to improve his manner of classroom participation. She stated that because of Student’s

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disruptive conduct, it was extremely difficult to teach her class with Student as a member of
it, and she would not like to have Student participate in any discussion-based class of hers in
the future. Testimony of Davis.

Similarly, a letter from the Middlesex Community College Dean of Students, dated October
3, 2008, indicated that Student exhibited “continued interruptions” in the classroom and that
if Student could not change his behavior and participate appropriately in the classroom,
Student risked being removed from the class or the college. Exhibits P-44, P-45,

It is not disputed that Student has the educational potential to learn pragmatic language skills.
He is intelligent and motivated to learn, and he has a relatively strong understanding of
content language (for example, vocabulary). Yet it is also undisputed that, at the same time,
because of his disability of Asperger's Syndrome, Student does not have the innate ability to
learn from context or the environment what language to use. In other words, he does not
have the ability to model his language from others by observing and copying what language
they are utilizing, as might be done by a regular education student. Testimony of Abele.

Consequently, in order to address his pragmatic language deficits, it is necessary that Student
be provided a specific curriculum that is taught to him systematically on a step-by-step basis,
with a significant amount of practice with a language pragmatics teacher and at jeast one
peer. In order to make meaningful gains in language pragmatics, these skills need to be
taught with consistency, need to be taught over a period of time, and need to be taught within
a variety of contexts in which Student will be actually functioning after High School.

Although Ms. Abele presented her observations, evaluations, and recommendations to
Dracut in 2005 and again in 2007, Dracut declined to adopt any of her recommendations
regarding Student’s need for special education and related services to address his pragmatic
language deficits. As a result, these deficits were unaddressed by Dracut throughout his
High School years.”

Student’s Social Skills Deficits. It is not disputed that Student has social skills deficits, but
the extent of these deficits remains unclear. Dracut witnesses testified that Student appeared
to interact normally with his peers at the High School, particularly during his junior and
senior years. and Student became friendly with members of the track team. Testimony of
Berard, Cotter, Nicholson, McLarney.

Dracut’s services to Student, Student’s opportunity to participate in track, and the passage of
time allowed Student to function within the High School environment by his junior year in a
manner that, at least to the outside observer, reflected relatively normal social relationships

*° At the evidentiary hearing in the instant dispute, Dracut made clear that the IEP Team declined to follow Ms.
Abele’s recommendations and, more specifically, never proposed to provide Student with the discrete training in
language pragmatics recommended by Ms. Abele because Student was observed to be successful in the High School
with the result that Dracut deemed Ms. Abele’s proposed services not to be needed. Instead, to address Ms. Abele’s
concerns, Dracut staff consulted with the Dracut autism specialist (Ms. Cotter) and through the IEP Team process,
offered counseling twice each week and a social group. However, Dracut conceded, through the testimony of Ms.
Cotter, that these services offered or provided by Dracut were not the systematic, step-by-step instruction required to
address Student’s underlying pragmatic language deficit. Testimony of Mother, Abele, Cotter.

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within peers and staff at the High School. However, none of this has made it possible for
Student to have normal social relationships with others outside of the High School
environment.

Student and Parent were persuasive that these social relationships did not carry outside of the
High Schoo]. Since June 2008, when Student stopped going to the High School, his daily
routine speaks to the implications of Student’s limited social skills. Student does not leave
the house by himself except to go to his classes at Middlesex Community College twice each
week. He does not have friends. He does not have visitors at home. He does not talk to
anyone on the phone. A typical day for Student ts to get up late, he spends time on the
computer, researching prices to buy computer parts and repairing computers, and he stays up
late. Testimony of Mother, Student; exhibit P-43 (page 3).

In October 2008, Michele Mayer (Education Specialist and Board Certified Behavioral
Analyst) conducted, at Parents’ request, a readiness-to-graduate assessment of Student.”
This assessment reveated that Student has significant, continuing, unaddressed deficits that
will preclude his being successful in postsecondary education, employment, and independent
living. Student’s deficit areas pertain to his difficulties with organization, vocational skills,
travel, and social skills. Testimony of Mayer; exhibit P-43. I will address Student’s social
skills deficits in this section, and the other areas will be addressed separately below.

Ms. Mayer’s testing found that Student has minimal socialization skills. Student’s social
skills deficits will inevitably impact upon multiple areas of his life. For example, Ms. Mayer
testified persuasively that lack of appropriate social skills in the work place is the principal
reason people are terminated from employment. This deficit will also likely impact
negatively on Student’s ability to live independently. Testimony of Mayer; exhibit P-43.

Dr. Levine testified persuasively that Student needs continuing support regarding social
situations as he moves from the High School environment to less protected environments in
the community. She explained that in any environment where there are variables new to
him, Student has to re-learn how to act and respond. She noted that Student can be taught to
adapt to new situations, and he can be successful within a new environment when it becomes
familiar to him and he learns what is expected of him, but he requires support to make this
transition since he is not capable of intuitively generalizing what he has learned previously.

For these reasons, I find that Student has substantial deficits regarding social skills, that
Dracut did not provide services to allow Student to develop social skills that can be applied
after High School, that Student is capable of learning these social skills, but that without
learning these skills, Student’s ability to succeed in employment and independent community
living is severely compromised,

*° Ms. Mayer has been conducting these assessments for the past 14 years, and a significant percentage of the
assessinents {and of her overall professional experience) involve students diagnosed with Asperger’s Syndrome.
Ms. Mayer has been engaged by and worked with approximately 25 to 30 schoo} districts for purpose of assessing
the transitional needs (and how to meet them) of their students. Typically, it is a school district, rather than an
individual, that has engaged Ms. Mayer to conduct this kind of assessment over the past 14 years. Testimony of
Mayer. Tfer expert testimony was careful, thorough, candid, and credible.

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l agree with Ms. Mayer’s recommendation that additional testing should occur in order to
determine the extent of Student’s social skills deficits, including his specific deficit areas.
She explained that one needs to look carefully at the actual social skills incidents that have
occutred and what his skills actually are, so one can determine more thoroughly what his
social deficits are in practice. Jt is anticipated that, subsequent to this evaluation, Dracut will
need to propose social skills services, with interventions matched specifically to Student’s
social skills deficit areas.

Student’s Organizational] Deficits. Student is intelligent and has significant potential to
succeed, but his organizational deficits frequently preclude him from being able to apply his
intelligence or to implement consistently and appropriately what he already knows how to
do. Testimony of Mayer; exhibit P-43.

Related to Student’s organizational deficits are what Ms. Mayer referred to as Student’s
“fluency deficit”. Student knows what he should do in many situations and, for example, in
counseling, he can talk about what he should do. However, that when faced with an actual
situation that causes him stress or anxiety, Student often is not been able to apply what he
knows. This “fluency deficit” requires training that is different than what has been provided
in the past to Student. Testimony of Mayer; exhibit P-43.

Dracut provided organizational supports as part of Student’s IEPs. These skills, together
with academic learning, allowed Student to be successful academically within the supported
environment of Dracut High School. For example, Student received an A+ in his senior-year
science class where information was typically broken down into chunks of manageable
information and there is an opportunity to ask questions and clarify one’s understanding of
the materials. Testimony of Mayer; exhibit P-43.

Dracut’s organizational supports were not designed for the purpose of (nor did they succeed
in) giving Student the ability to develop organizational skills that could be apphed to post-
High School tasks such as understanding a driver’s manual or completing independent living
activities in an appropriate or timely manner. As a result, Student has not developed
organizational skills that can be applied (and are necessary to function successfully) outside
of the high school environment. Student still needs to learn to independently organize multi-
step tasks and assign realistic timelines to the steps. Testimony of Mayer; exhibit P-43.

Student’s organizational deficits impair his ability to function successfully in many areas.
For example, Student would like to have (but has not been able to obtain) a driver's license
because he is unable to understand the driver’s manual. Ms. Mayer testified persuasively
that without someone helping Student to do break down the material in the driver’s manual,
and organize il, he will continue to be unable to access tt und therefore will be unabie to
obtain a driver’s license. Testimony of Mayer; exhibit P-43.

Similarly, Student is capable of performing many independent living skills but his
organizational deficits preclude him from actually implementing and utilizing these skills in
an appropriate and timely manner. Ms. Mayer testified persuasively that Student can gain
independence in personal hygiene through organizational training and support so that he can

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learn to actually do in his daily life what he already understands needs to be done. Currently,
for example, Student knows how to brush his teeth and take a shower, but typically he does
not brush his teeth and he takes a shower only before leaving home two days each week to
take classes. Testimony of Mayer; exhibit P-43.

Ms. Maver testified persuasively that Student is likely to be successful in postsecondary
education only if someone provides organizational supports for Student. These supports can
be provided outside of the classroom. Testimony of Mayer; exhibit P-43.

Because of his Asperger’s Syndrome, Student is not able to learn these organizational and
fluency skills on his own or from his peers or family, but rather requires explicit instruction
from someone who knows how to teach these skills to someone with Student’s disability.
Student has the educational capacity to learn these skills, and with appropriate teaching,
Student is likely to make substantial progress.

Student’s Need for Vocational Training. Ms. Maycr also testified persuasively regarding
(and her report reflects) the need for specifically-focused vocational training for Student.
This should include (1) vocational training in the community (emphasizing his ability to
actually complete the work, his work speed, and his work consistency), (2) learning the
social culture of the work environment, (3) developing the ability to self-assess what job
characteristics are satisfactory and what are unsatisfactory for Student, and (4) overall career
development skills training. Testimony of Mayer; exhibit P-43.

As part of this training, Student requires sufficient employment experiences in job sites
within the community so that he obtains the ability to generalize what he has learned. He
needs to have sufficient range of experiences for these purposes. Ms. Mayer recommended
that each community employment experience for Student should generaily last three to four
months part-time, with the amount of time at work increasing over time to 20 hours per
week. At the same time, Student may continue in school part-time. Testimony of Mayer;
exhibit P-43.

Ms. Mayer testified persuasively that the Dracut work internships were not sufficient because
they each had a very limited number of hours per week compared to actual work in the
community, and Student was not exposed to a full range of situations involving interaction
with the public and peers, with the result that Student did not experience ail of the
communication and social skills scenarios typically found within a job in the community.
Ms. Mayer’s testimony was persuasive, and I so find, that while Dracut’s work internships
undoubtedly asststed Student by providing him with employment-like experiences, there is
no basis for concluding that the skills that he learned and utilized within these internships are
transferable to (and therefore are usable within) actual work sites in the community.
Testimony of Mayer; exhtbit P-43.

Similarly, Ms. Hart testified persuasively that in order to provide minimally useful
transitional services regarding employment, Dracut should not limit its transition services to
school-based activities but rather should provide Student with opportunities to practice his
skills within the actual environments (including paid employment) in which he will be
participating after High School. She explained that appropriate transition services typically

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begin as school-based, but as the student gets older, the services are moved from the school
to the community. Testimony of Hart. The IDEA regulations defining “transition services”
specifically includes “community experiences.”

There may be some students wha do not require community experiences in order to allow
that student to succeed after high school. However, because of Student’s Asperger’s
Syndrome, which limits his ability to apply learned skills from one environment to another, I
find it necessary that Student experience employment situations within three or four
community settings in order to develop usable vocational skills. These would be part-time
employment experiences that would occur concurrently with Student’s participating in
postsecondary education, which would also be on a part-time basis. Testimony of Mayer;
exhibit P-42.

Student’s Travel Skills. Ms. Mayer found that Student has limited travel skills, for example
becoming confused when looking at different bus schedules and what the information on
these schedules means. She concluded that Student needs additional training to learn how to
understand and utilize bus schedules (particularly since he does not have a driver's license),
which is a realistic goal for Student. Currently, Student is only able to utilize public
transportation for purposes of attending his classes at Middlesex Community College.
Testimony of Mayer; exhibit P-43.

Ms. Mayer testified persuasively, and I so find, that Student requires additional travel
training so that he will be able to access work, school, and other activities within the
community. Travel training should address Student’s need to become independent in
traveling within the community. This should include instruction while actually riding public
buses with Student so that the instruction goes beyond Student’s obtaining only a conceptual
understanding of what is needed. Testimony of Mayer; exhibit P-43.

Dracut’s Arguments to the Contrary. By Dracut’s standards, Student was doing well at
the High School and needed no special education or related services other than what were
being offered. Dracut witnesses testified that by Student’s junior year, Student’s social skills
had improved, Student appeared to be relaxed in his interactions with other students, and
other students interacted with him in the same way that they would interact with any other
students; and that during Student’s junior and senior years, he had the ability to modify his
behavior so that it was appropriate at the High School. Testimony of Cotter, McLarney,
Nicholson, Mazzola, Generoso.

For example, at lunch time, Student was observed to have appropriate behavior and to be
appropriately interacting with his peers—for example, he did not eat alone, and he engaged
in appropriate conversations with others. Also, Student was an enthusiastic participant (as a
shot-pufler) in winter track during his junior and senior years, and he got along well with
everyone on the track team. Testimony of Cotter, McLarney, Nicholson, Mazzola,
Generoso, Berard.

 

“1 34 CFR 300.43(a2\ii).
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Student was also succeeding academically. His teachers believed that he had fewer needs
over time as Student matured over the course of his four years at the Dracut High School.
By the second half of his senior year, Student’s teachers generally believed that he was
performing well academically, and he required little re-direction. They believed that, in
general, any difficult issues regarding Student could be addressed through a quick discussion
between Student and one of his teachers. By senior year, Student was receiving grades of As
and Bs, including an A+ in a college-preparatory science class. ‘Testimony of Cotter,
McLarmey, Nicholson, Mazzola, Generoso, Stone.

Student’s success at the High School was further evidenced by his track teammates awarding
Student the “Team Spirit” award at the end of his junior year; Student’s receiving the Fran
Kelley award (given to a student whose participation in track has helped overcome obstacles)
in his senior year; and Student’s receiving three scholarship awards (of $1500, $500, and
$500) in 2008. Testimony of Berard, Generoso, Mother; exhibits $-3 (3 page), $-30.

As a result of Student's suceess within the [Ligh School, Student’s teachers and staff
concluded that his conduct and behavior did not indicate that he needed assistance with
development of social skills, and Dracut staff found that there was no need for specialized
training of his teachers regarding Student’s disabilities and how to work with him.
Testimony of Cotter, McLamey, Nicholson, Mazzola, Generoso, Stone.

It is apparent that over time, Student adjusted sufficiently well to the High School
environment so that he could succeed academically and socially. Student's peers and
teachers likely made any necessary adjustments to his social and pragmatic language deficits.
Yet, at the same time, as illustrated by Ms. Abele’s classroom observation of Student near
the end of his junior year (May 1, 2007) at the High School, Student stil! did not understand
the rules and expectations of discussions in a classroom. He was continuing to evidence
pragmatic language deficits that resulted in his asking questions and making comments that
were inappropriate within a group or community context and would be appropriate only if he
were the only student in the classroom—-that is, a 1:1 tutorial. Testimony of Abele; exhibit
P-7, It also was painfully obvious from Student’s and Parent’s testimony that any social
successes at the High School did not translate into social success outside of school.

This illustrates the fundamental disconnect between the positions of the parties in the instant
dispute. The Dracut witnesses testified enthusiastically and persuasively regarding Student’s
apparent successes in High School, as reflected in his grades, participation in sports, awards,
and peer relationships. Relying upon Student’s apparent success during High School, Dracut
provided additional services intended to assist with vocational training (for example, the
bank and computer internships), but left unaddressed deficits that virtually preclude his

transitioning successfully to postsecondary education, employment, and independent living.”

"2 The Kighth Circuit in Yankton School Dist. v. Schramm, 93 F.3d 1369, 1.6 (8° Cir. 1996) summarized a similar
situation as follows:

A very bright, disciplined, and determined student, ‘Ttacy appears to be headed for college. Preparing
disabled students fot postsecondary education is one of the reasans for transition services under the IDEA.
Under the statute, her success in high school, due in part to the special education she receives, shouid not
prevent her from recetving whatever transition services she may need to be equally successful in college.

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Dracut made its decisions regarding transition services not out of any bad faith. The Dracut
witnesses Were persuasive that they, in fact, believed that what they had provided Student
was useful and sufficient. However, without the benefit of any appropriate transition
assessments (other than Parents’ assessments, which Dracut did not utilize) and without the
benefit of any Dracut staff or consultants who have expertise regarding the transition needs
of someone with Student’s educational profile, Dracut staff were simply unable to
understand sufficiently the implications of Student’s disabilities on his life after High School.
Mr. Brooks was the only possible expert in this regard, but he simply did not have sufficient
depth or breadth of knowledge and experience to provide a persuasive expert opinion,
particularly in contrast to each of Parents’ four experts.

Findings and Conclusions. On the basis of the evidence discussed above, I make the
following additional findings and conclusions:

© Dracut did not conduct appropriate transition assessments, in contravention of the
IDEA (20 USC § 1414 (A\UI)(A)DCVID (aa); 34 CFR §300.320(b)). Dracut also did
not utilize Parents’ transition assessments, which were appropriate. As a result,
Dracut did not propose IEPs (including transition plans and services) based upon
appropriate transition assessments of Student’s particular transition needs, in
contravention of the IDEA (20 USC § 1414 (d}{1)(A)(@CVID)(bb); 34 CFR
§300.320(b)).

e Student had and continues to have basic pragmatic language deficits because of
Asperger’s Syndrome. These deficits have left Student unabie to participate
successfully in postsecondary education, employment, and independent living and
preclude Student from achieving a reasonable degree of self-sufficiency. Student had
and continues to have the educational capacity to ameliorate these deficits with
appropriate instruction. In 2005 and again in 2007, Dracut was informed of these
deficits and Student’s need for services to address them. Dracut made a conscious
decision not to address these deficits in a manner that would reasonably likely
facilitate his transition to postsecondary education, employment, and independent
living. Testimony of Abele, Cotter; exhibits P-7, P-8.

e Student had and continues to have organizational and social skills deficits because of
Asperger’s Syndrome and Attention Deficit Hyperactivity Disorder. These deficits
have left Student unable to participate successfully in postsecondary education,
employment, and independent living and preclude Student from achieving a
reasonable degree of self-sufficiency. Student had and continues to have the
educational capacity to ameliorate these deficits with appropriate instruction. Dracut
has been aware of these deficits and has provided cr offered services for the purpose
of allowing Student to be successful academically in Dracut High School. However,
Dracut has provided no services that were reasonably likely to address these deficits
in a manner that would facilitate Student’s transition to postsecondary education,
employment, and independent living. Testimony of Mayer, Levine, Hart; exhibits P-
3, P-4, P-43.
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e Student has substantial, continuing needs for vocational training and travel training.
Dracut provided employment internships, but these opportunities were not reasonably
calculated to enable Student to develop vocational skills needed to be successful after
High School. Dracut has not attempted to address Student’s need for travel training.
As a result, Student is substantially unprepared to realize his potential to participate
successfully in postsecondary education, employment, and independent living and
precludes Student’s achieving a reasonable degree of self-sufficiency. Testimony of
Mayer, Hart; exhibit P-43.

e When Congress first decided to include transition services within the IDEA in 1990, it
noted that when individuals are not prepared to make the transition into the post-
school environment “[y]ears of special education will be wasted while these
individuals languish at home, their ability to become independent and self-sufficient
(therefore making a positive contribution to society) placed at significant risk.” On
the basis of unrebutted expert testimony, | conclude that this statement applies Lo
Student. That is, without appropriate transition services, Student is likely to go in and
out of higher education and in and out of jobs, with the result that he is at significant
risk of becoming discouraged, staying at home, and failing to realize his potential to
live independently. Over time, Student is at significant risk of becoming dependent
on welfare and social service systems. On the other hand, a relatively small
investment in appropriate transition services now will likely result in substantial long-
term benefits for Student. Testimony of Abele, Mayer, Levine.

e Thus, Dracut did not propose or provide transition services reasonably calculated to
facilitate Student’s successful transition to postsecondary education, employment, and
independent living. Considering this within the context of the IEPs as a whole, J
conclude that Dracut’s IEPs at issue in this dispute denied Student FAPE.

e Dracut has not provided Student with effective special education and related services
designed to (1) develop skills to access community services; (2) develop independent
living skills; and (3) develop skills necessary for seeking, obtaining, and maintaining
jobs, in contravention of Massachusetts special education regulations (603 CMR
28.06(4)).

T now turn to consideration of what relief is appropriate.”

 

“H R.Rep. No. 101-544, 101st Cong., 2d Sess. 9, reprinted in 1990 U.S.Code Cong. & Admin. News | 723, 1732-
33, quoted in Todd D by Robert D. v. Andrews, 933 F.2d 1576, 1.2 C1 1" Cir. 1991).

"Parent and Student argue that Student also needs instruction in tke development of self-management and self
determination skills @vhich includes choice-making skills, problem-solving skills, goal-setting skills, risk-taking
skills, safety skills, self-advocacy skills, and self-knowledge) so that he can continue to make his own decisions
about his life, so that he can change his own behavior as needed, and so that he can become independent of his
family and social service agencies. Parent and Student also seek remedial math educational services, 1 have little
doubt that these services would be helpful fo Student. However, neither the testimony, the evaluations, nor any
other evidence is persuasive that these services are a necessary part of Student’s transition from High School. I also
note that Student has taken a remedial math course after High School. In short, Parents and Student did not meet
their burden of persuasion on this part of the dispute.

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Relief. When a school district fails to provide a student with FAPE, compensatory services
must be considered. Compensatory services are an equitable remedy involving discretion in
determining what relief is appropriate after consideration of all aspects of the case.”
Compensatory services should be designed to make a student whole-that is, to make up for
what was lost as a result of not having received the requisite special education services.” As
one federal court has instructed, the decision-maker needs to make “an informed and
reasonable exercise of discretion regarding what services [Student] needs to elevate him to
the position he would have occupied absent the school district's failures.”*’ This may include
future services to make up for what was lost.**

Based on the evidentiary record of what transition services should have been provided and
how long it will likely take Dracut to make up for this, I find that Student is entitled to two
additional years of transition services and services for older students under Massachusetts
regulations. These additional services are justified on the basis of the following factors,
which are discussed in greater detail above: (1) Dracut’s failure to provide any appropriate
services to address Student’s pragmatic language deficit even after receiving two expert
reporls demonstrating this need, and the unrebutted testimony that it may take Student two
years to receive the necessary instruction to address this deficit, (2) Dracut’s failure to
provide needed community-based work internships, and persuasive testimony that Student
may need as many as four separate community-based work internships, each lasting as long
as four months, with some period of time between internships, (3) the need to conduct a
social skills assessment, which in turn may require development and delivery of instruction
over a substantial period of time, and (4) Dracut’s general failure to properly and timely
assess Student’s need for transition services or propose appropriate transition plans for the
two year period from May 2006 to May 2008. Testimony of Abele, Mayer.

I conclude that it is necessary for Student’s eligibility to continue under the IDEA and state
special education regulations for two years for purposes of receiving the above-referenced
compensatory services, I reach this conclusion for the following reasons.

As discussed throughout this Decision, Student requires a wide range of transition services
that have not been provided to date. As compared to many other compensatory education
disputes, Student cannot be made whole simply by my ordering easily identified and discrete
special education or related service for a particular period of time. For example, the extent of

 

"5 See, e.g, CG. ex rel. AS. v. Five Town Community School Dist., 513 F.3d 279, 290 (1" Cir. 2008) (compensatory
education is a “discretionary remedy”).

© See, e.g., CG. ex rel AS. v. Five Town Community Schoal Dist.. 513 F.3d 279, 290 (1* Cir. 2008)
(“compensatory education is... a discretionary remedy for nonfeasance or misfeasance in connection with a school
system's obligations under the IDEA”); G. ex rel. RG v. Fort Bragg Dependent Sch., 343 F.3d 295, 309 (4th Cir.
2003) ("Compensatory education involves discretionary, prospective, injunctive relief crafted by a court to remedy
what might be termed an educational deficit created by an educational agency's failure over a given period of time to
provide a FAPE toa student."); Pid y. Muss. Dept. of ha, 9 F.3d 184 Gi" Cir, 1993) (compensatory education is
available to remedy past deprivations”); Lester HL v. GiHhool, 916 F.2d 865 (Grd Cir. 1990), cert. denied 499 US.
923, FLL S.Ct. 317 (1991) (compensatory education is intended to be “an appropriate remedy to cure the deprivation
ofa child's right to a free appropriate public education”); Afiener v. State of Missouri, 800 F.2d 749 (8th Cir. 1986)
{compensatory education intended to cure the deprivation of a handicapped child's statutory rights).

" Reidy District of Columbia, 401 F.3¢ 516, 527 (D.C. Cir. 2005). See also Draper v. Atlanta Independent School
System, 518 F.3d 1275, 1289 C11" Cir, 2008)

“8 Pihl vy. Mass. Dept. of Ed , 9 F.3d 184. 189 (1 Cir. 1993) (The IDEA “may require services at a fulure time to
compensate for what was lost’).
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the vocational education services required by Student, as well as the instruction to address
Student’s pragmatic language deficits, will depend upon how quickly he learns and how
readily he is able to apply what he has learned to a variety of contexts. In addition, social
skills instruction will need to be developed based upon an assessment that has not yet been
completed,

Appropriate transition services can only be provided pursuant to the development of a
transition plan that describes a coordinated set of activities focused on improving Student’s
ability to move successfully to postsecondary education, employment, and independent
living. The implementation of the plan will need to be monitored and adjustments made over
the course of the two-year period in response to the parties’ changing understanding of
Student’s needs (for example, as a result of the social skills assessment) and Student’s
progress.

All of this argues in favor of continued eligibility in order that the various substantive and
procedural requirements rclevant to transition services will continuc to apply to Student.

This raises the question of whether Student should be precluded from receiving his high
school diploma so that he can continue to be eligible for transition services under state and
federal special education law. It is well settled that if properly graduated from high school
with a diploma, Student’s right to prospective services as a special education student
terminates, including his right to transition planning and services.” State and local standards
determine when a student has completed the requisite course and examination requirements
for graduation.” It is undisputed that Student has met all of Dracut’s and Massachusetts’
requirements for graduation from high school.

Dracut sought to graduate Student from Dracut High School, but this was thwarted, at least
temporarily, by a stay put order earlier in the instant dispute by the BSEA Hearing Officer.
A number of courts and hearing officers have concluded that a school district may be
required to provide a certain minimum level of special education services (including
transition services) before it will be allowed to graduate a student and thereby terminate her
eligibility for prospective special education services.*! Dracut’s failure to provide

 

“34 CFR 300.122(a)(3)(i); MGL c. 71B, 8.1 (definition of “school age child”).

* Stock v. Massachusetts Hospital School, 467 N.E. 2d 448, 392 Mass. 205 (1984), cert. denied 474 U.S. 844
(1985). See also Mass. Dept. of Education Administrative Advisory SPED 2002-4 -- REVISED (found at:
http://www.doe.mass.edu/sped/advisories/02_4.html } which provides in relevant part: “The standards for award of
the high school dipioma include requirements set by the district and state standards including, as of 2003, the
competency determination standard.”

*! See Kevin T. v, Elmhurst Community School Dist, Ne, 205, 2002 U.S. Dist. LEXIS 4645, 36 IDELR 153 (N.D.IEL.
2002) (‘To sraduaie a student with a disability under the IDEA, the student must meet the gencrat graduation
requirements and make progress on or complete the IEP goals and objectives.”); Chuhran v. Walled Lake Consol.
Sch.,839 F Supp. 465, 474 (E,.D.Mich.1993) (“In order to graduate a student with a disability, the student must
complete his IEP requirements and otherwise meet requirements for genera! graduation. “), aff'd, 51 F.3d 271 (6th
Cir, 1995), Jn Re: Mason City Community School District, 46 IDELR 148 (lowa SEA 2006); In Re: Quabbin
Regional School District, BSEA # 05-3115, 11 MSER 146 (MA SEA 2005) (failure to provide transition services
may result in continuing eligibility notwithstanding graduation from high school): fa Re: Carver Public Schools,
BSEA # 00-2574, 7 MSER 167, 170 (SEA MA 2001) @ Hearing Officer “may declare a regular diploma invalid”
where the school district has failed to provide a transition plan}; Livermore Valley Joint Unified School District, 33

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appropriate transition services may possibly be sufficient to justify an order that would
preclude Dracut from granting Student his diploma until such time as appropriate transition
services are provided, Student and Parents urge this approach.

However, for reasons explained below, I find that I may extend Student’s eligibility for two
years for the purpose of receiving appropriate and sufficient compensatory services
notwithstanding his graduation from High School. Therefore, Dracut may (and should) grant
Student his high school diploma at this time. I find this approach preferable since it does not
interfere with Dracut’s intent to graduate Student, and it allows Student to receive a high
school diploma, which is one of his goals, while at the same time, it can appropriately and
sufficiently compensate Student.

The First Circuit has made it clear that Student’s graduation from high school (which
normally would end Student’s entitlement to services under the IDEA) is not a bar to his
being provided compensatory services because Dracut’s violations occurred while Student
was cligible under the IDEA.” This, however, leaves unanswered the question of whether
the compensatory relief may include continuation of eligibility for two years.

To my knowledge, no court has squarely addressed the question of whether compensatory
services may be used to extend special education eligibility. However, after a careful and
thoughtful discussion of the extent of its authority to order compensatory relief, one court
effectively extended a student’s eligibility for three years by ordering an award of
compensatory services in the form of the school district’s being required to reevaluate the
student, develop and issue an IEP for the student, and serve as the student’s responsible
school district under the IDEA for three years even though her eligibility had ended.”
Another court has approved a consent decree that permitted compensatory education to
include extension of IDEA eligibility.’ Another court stated: “An award of compensatory
education extends the disabled student's entitlement to the free appropriate education beyond
age twenty-one to compensate for deprivations of that right before the student turned twenty-
one." And, the First Circuit has observed that an award of compensatory services may
include an “extended period of assistance beyond the statutory age of entitlement.”*° In
addition, there is no doubt that after consideration of all relevant factors, a court has “broad
discretion” in fashioning an order for relief in an IDEA dispute.°’ On the basis of this

 

IDELR 288 (CA SEA 2000) (prerequisite to awarding a valid diploma to a special education student is that adequate
transition planning and services have been provided); Student v. Novato Unified School District, SN 886-94, 22
IDELR 1056 (CA SEA 1995),

* Me. Sch Admin. Dist. No. 35 v. R., 321 F.3d 9, 18 (t" Cir, 2003) (compensatory education entitles recipient “ta
further services, in compensation for past deprivations, even after his or her eligibility [for special education services
under IDEA] has expired”); Piti v. Mass. Dept. of Ed., 9 F.3d 184, 189 (1* Cir. 1993) (“a student who was deprived
of services to which he was entitled under the IDEA has a right to a remedy, in the form of compensatory education,
regardiess of his eligibility for current or future services under the Act.” ).

* Rerren Cv. Schoul Dist. of Philadelphia, 2009 WL 222376, *13 (B.D. Pa, 2009).

* Blackman v Dist ict of Columbia, 2006 WL 2456413 (D.D.C. 2006). See also Ferren C. v School List. of
Philadelphia, 2009 WL 222376, *13 (E.O. Pa, 2009) (parties voluntarily agreed to extend student’s [DEA eligibility
for one year).

* Carlisle Area Sch y. Scott P., 62 F.3d 520, 536 (3d Cir. 1995).

* Pihivy Massachusetts Dep't of Educ., 9 F.3d 184, [88 n. 8 (1 Cir. 1993} (citation omitted).

See, e.g., Florence County Sch. Dist. Four v. Carter, 510 U.S. 7, 16, 114 8.Ct. 361, 126 L-Ed.2d 284 (1993) (in
“fashioning discretionary equitable relief under LDEA [we] must consider all relevant factors.”); Sch. Cum. of

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authority, I conclude that where the circumstances require it, compensatory education may
include extended eligibility under state and federal special education laws.

For these reasons, I find that Dracut shall provide Student with extended special education
eligibility for purposes of receiving two years of additional transition services and (during
the same time period) two years of services for older students under Massachusetts special
education regulations.°® Within 30 days from the date of this Decision, Dracut shall convene
an IEP Team meeting for purposes of developing a new transition plan. Services under this
new transition plan and services for older students shall commence within 60 days of the date
of this Decision. Transition services and services for older students shall continue for two
years from the date of commencement of these services.

Transition services and services for older students shall be provided consistent with this
Decision and shall include the following, which shall be incorporated into a transition plan:

e Systematic, step-by-step pragmatic language instruction taught with consistency over
a period of time (this may occur, for example, within a pragmatics group), with the
addition of a significant amount of practice with a language pragmatics teacher within
a variety of contexts, including higher education and employment.

e Development of organizational skills that can be utilized within a variety of settings,
including postsecondary education, employment, and independent living (including,
for example, personal hygiene).

e Vocational training that includes placement and support within three or four work
sites in the community, with each work site lasting for three or four months. Work
placements may be part-time, so that Student may continue to pursue part-time post-
secondary education and receive other transition services at the same time.

e Travel instruction for the purpose of Student’s learning to use the public
transportation system and to understand the Massachusetts driver’s manual.

e A comprehensive social skills assessment (part of which would include interviews of
others who have encountered Student) by someone with substantial experience and
expertise working with older students diagnosed with Asperger’s Syndrome, and
social skills training to be developed and provided on the basis of this assessment.”

In its development of Student’s new transition plan, the IEP Team shall be guided by the
recommendations of Ms. Abele and Ms. Mayer, both through their reports and testimony in

 

Burlington v. Massachusetts, 471 U.S. 359, 369, 105 8.Ct. 1996, 85 L.Ed.2d 385 (1985) (courts have “broad
discretion” in fashioning appropriate relief to remedy a school district’s failures under the federal special education
law); C.G. ex rel. AS. v. Five Town Community School Dist., 513 F.3d 279, 290 (1" Cir. 2008) (compensatory
education is a “discretionary remedy”); Reid v. District of Columbia, 401 F.3d 516 (D.C. Cir. 20053, 1B ov. Matuta,
67 F.3d 484, 494-95 (3d Cir.1995) (nothing in the text or history suggesting that relief under IDEA is limited in any
way)(overruled on other grounds), Pihl v. Mass. Dept. of Ed, 9 F.3d 184, 188 n. 8 (1 Cir. 1993).

** 603 CMR 28.06(4}.

* It may be that the Massachusetts Rehabilitation Commission or another public entity will be able to provide some
of these services, thus making it unnecessary for Dracut to provide all of them. However, all of the required services
must nevertheless be included in Dracut’s transition plan for Student, thus making it clear that Dracut is ultimately
responsible for ensuring that the services are provided by either Dracut, Massachusetts Rehabilitation Commission
or another public entity.

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the instant dispute, as well as by the recommendations contained within the testimony of Ms.
Hart. tn addition, Dracut shall hire and compensate Ms. Abele and Ms. Mayer for sufficient
consultation time so that they may (1) provide consultation to Dracut to assist in the
development of the transition plan that complies with the instant Decision, (2) advise Dracut
during the two-year period of extended eligibility regarding the need for any modifications to
Dracut’s proposed transition plan, and (3) advise Dracut regarding the appropriate
implementation of its transition plan. In the event that Ms. Abele or Ms. Mayer is not able to
provide this consultation, Dracut shall retain substitute consultants who are recommended by
Ms. Abele or Ms. Mayer.”

VI. ORDER
Since May 2006, Student was denied FAPE on the basis of Dracut’s inappropriate transition
planning and services and on the basis of Dracut’s inappropriate services for older students.

Student is entitled to extended eligibility for purposes of receiving two years of
compensatory Services.

By the Hearing Officer,

William Crane
Dated: March 13, 2009

 

*° As previously noted, Ms. Mayer and Ms. Abele have extensive consultation experience working directly with
school districts. In addition, the majority of their consultation work is initiated by school districts seeking their
advice, rather than (as in the present dispute} Parents’ seeking their assistance. I find that both experts are extremely
well-qualified to provide Dracut consultation regarding Student’s transition plan and services, Testimony of Abele,
Mayer; exhibits P-6, P-42..

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COMMONWEALTH OF MASSACHUSETTS
BUREAU OF SPECIAL EDUCATION APPEALS

THE BUREAU’S DECISION, INCLUDING RIGHTS OF APPEAL

Effect of the Decision

20 U.S.C. s. 1415(i)(1)(B) requires that a decision of the Bureau of Special Education

' Appeals be final and subject to no further agency review. Accordingly, the Bureau cannot
permit motions to reconsider or to re-open a Bureau decision once it is issued. Bureau
decisions are final decisions subject only to judicial review.

Except as set forth below, the final decision of the Bureau must be implemented immediately.
Pursuant to M.G.L. c. 30A, s. 14(3), appeal of the decision does not operate as a stay. Rather, a
parly secking to stay the decision of the Bureau must obtain such stay from the court having
jurisdiction over the party's appeal.

Under the provisions of 20 U.S.C. s. 1415@), “unless the State or local education agency and the
parents otherwise agree, the child shall remain in the then-current educational placement,”
during the pendency of any judicial appeal of the Bureau decision, unless the child is seeking
initial admission to a public school, in which case "with the consent of the parents, the child
shall be placed in the public school program”. Therefore, where the Bureau has ordered the
public school to place the child in a new placement, and the parents or guardian agree with that
order, the public school shall immediately implement the placement ordered by the Bureau.
School Committee of Burlington, v. Massachusetts Department of Education, 471 U.S. 359
(1985). Otherwise, a party seeking to change the child's placement during the pendency of
judicial proceedings must seek a preliminary injunction ordering such a change in placement
from the court having jurisdiction over the appeal. Honig v. Doe, 484 U.S. 305 (1988); Doe v.
Brookline, 722 F.2d 910 (st Cir. 1983).

Compliance

A party contending that a Bureau of Special Education Appeals decision is not being
implemented may file a motion with the Bureau contending that the decision is not being
implemented and setting out the areas of non-compliance. The Hearing Ofticer may convene
a hearing at which the scope of the inquiry shall be limited to the facts on the issue of
compliance, facts of such a nature as to excuse performance, and facts bearing on a remedy.
Upon a finding of non-compliance, the Hearing Officer may fashion appropriate relief,
including referral of the matter to the Legal Office of the Department of Education or other
office for appropriate enforcement action. 603 CMR 28.08(6)(b).
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Rights of Appeal

Any party aggrieved by a decision of the Bureau of Special Education Appeals may file a
complaint in the state court of competent jurisdiction or in the District Court of the United
States for Massachusetts, for review of the Bureau decision. 20 U.S.C. s. 1415(7}(2).

An appeal of a Bureau decision to state superior court or to federal district court must be
filed within ninety (90) days from the date of the decision. 20 U.S.C. s. 1415(2)\(2)(B).

Confidentiality

In order to preserve the confidentiality of the student involved in these proceedings, when an
appeal is taken to superior court or to federal district court, the parties are strongly urged to file
the complaint without identifying the true name of the parents or the child, and to move that all
exhibits, including the transcript of the hearing before the Bureau of Special Education Appeals,
be impounded by the court. See Webster Grove School District v. Pulitzer Publishing
Company, 898 F.2d 1371 (8th Cir. 1990). Ifthe appealing party does not seek to impound the
documents, the Bureau of Special Education Appeals, through the Attorney General's Office,
may move to impound the documents.

Record of the Hearing

The Bureau of Special Education Appeals will provide an electronic verbatim record of the
hearing to any party, free of charge, upon receipt of a written request. Pursuant to federal law,
upon receipt of a written request from any party, the Bureau of Special Education Appeals will
arrange for and provide a certified written transcription of the entire proceedings by a certified —
court reporter, free of charge.

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